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   EXHIBIT 1A
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                                      This certificate, Issued under the seal of the Copyright
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                                      istration has been made for the work identified below. The
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                      WELSH WITCH MUSIC
    0                 c/o Gelfand, Rennert & Feldman
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                      1880 Century Park East #900
                      Los Angeles, CA. 90067
                  TRANSFER: (If the copyright dmmant(si named here In space 4 are different ham the author(S) named in space 2. gnt a brlef statement of how the
                  Claimant(s) obtained owner ship of the copyright WELSH WITCH MUSIC is a fictitious business name for
                                                                         STEPHANIE NICKS.
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• Follow detailed Instructions attached • Sign the form at Ent 8
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                   0 This is the first application submitted by this author ascopyright claimant.
                   El This Is a changed version of the work. as shown by line 6 of the application.


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               RIDER TO AGREMAENT DATED             August 20, 1984             BETWEEN
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           akIl AND       WELSH WITCH MUSIC
                           (.1:0-tt contrac-t r.arre bf nablisher)


                        Paragraph FIRST of_the Agreement tojihich this Rider
          is attached is.                deemn d deleted and replaced with the
          following:                                                                      _

                        PIRST: The -term of this agreement shall he. the nerio0
         from         July 1, 1983             to         June 30, 1985                       , and

         con tinuing thereafter unless terminated bv_either . party as of
         said date, upon notice by registered or certified nail not more
         than six months or less than sixty . (60) days p rior, to said date, .
         or as of the end of any additional six-month .period upon not- less
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      B111®

      AGREEMENT made on May 18, 2003 between BROADCAST MUSIC, INC. ("BMI"), a New York corporation,
      whose address is 320 West 57th Street, New York, N.Y. 10019-3790 and Stephanie Nicks an individual doing
      business as WELSH WITCH MUSIC ("Publisher"), whose address is do Sony Songs Inc., P.O. Box 415000, LK-8X
      30578, Nashville, TN 37241-5000



                                                       WITNESSETH:
               1. The term of this agreement shall be the period from July 1, 2003
      to       June 30, 2008                                , and continuing thereafter for additional periods of two (2) years
      each unless terminated by either party at the end of said initial period or any additional period, upon notice sent by
      registered, certified or Express mail, or other sending method that requires that the date that the item is sent be
      recorded by the courier (e.g., overnight mail or messenger service), not more than six (6) months or less than three
      (3) months prior to the end of any such period.
               2. As used in this agreement, the word "Work" or "Works" shall mean:
                       A. All musical compositions (including the musical segments and individual compositions written
      for a dramatic or dramatico-musical work) whether published or unpublished, now owned or copyrighted by
      Publisher or in which Publisher owns or controls performing rights, and
                       B. All musical compositions (including the musical segments and individual compositions written
      for a dramatic or dramatico-musical work) whether published or unpublished, in which hereafter during the term
      Publisher acquires ownership of copyright or ownership or control of the performing rights, from and after the date
      of the acquisition by Publisher of such ownership or control.
               3. Except as otherwise provided herein, Publisher hereby sells, assigns and transfers to 13MI, its successors .
      or assigns, for the term of this agreement:
                     A. All the rights which Publisher owns or acquires publicly to perform, and to license others to
      perform, anywhere in the world, in any and all places and in any and all media, now known or which hereafter may
      be developed, any part or all of the Works.
                      B. The non-exclusive right to record, and to license others to record, any part or all of any of the
      Works on electrical transcriptions, wire, tape, film or otherwise, but only for the purpose of performing such Work
      publicly by means of radio and television or for archive or audition purposes This right does not include recording
      for the purpose of sale to the public or for the purpose of synchronization (1) with motion pictures intended
      primarily for theatrical exhibition or (2) with programs distributed by means of syndication to broadcasting stations,
      cable systems or other similar distribution outlets.
                      C. The non-exclusive right to adapt or arrange any part or all of any of the Works for performance
      purposes, and to license others to do so.
               4. Notwithstanding the provisions of subparagraph A of paragraph 3 hereof:
                     A. The rights granted to BMI by said subparagraph A shall not include the right to perform or license
      the performance of more than one song or aria from a dramatic or dramatico-musical work which is an opera,


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        operetta or musical show or more than five (5) minutes from a dramatic or dramatico-musical work which is a ballet,
            if such performance is accompanied by the dramatic action, costumes or scenery of that dramatic or
            dramatico7musical work.
                              B. Publisher, together with all the writers and co-publishers, if any, shall have the right jointly, by
            written notice to BMI, to exclude from the grant made by subparagraph A of paragraph 3 hereof performances of
            Works comprising more than thirty (30) minutes of a dramatic or drainatico-musical work, but this right shall not
             apply to such performances from (1) a score originally written for or performed as part of a theatrical or television
             film, (2) a score originally written for or performed as part of a radio or television program, or (3) the original cast,
             sound track or similar albuin of a dramatic or dramatico-musical work.
                             C. Publisher, the writers and/or co-publishers, if any, retain the right to issue non-exclusive licenses
             for performances of a Work or Works in the United States, its territories and possessions (other than to another
             performing rights licensing organization), provided that within ten (10) days of the issuance of such license or within
             three (3) months of the performance of the Work or Works so licensed, whichever is earlier, BMI is given written
             notice thereof and a copy of the license is supplied to BMI.
                      5.
                             A As full consideration for all rights granted to BM1 hereunder and as security therefor, BM1 agrees
             to make the following payments to Publisher with respect to each of the Works in which BMI has performing rights:
                              (I) For radio and television performances of Works in the United States, its territories and
             possessions, BMI will pay amounts calculated pursuant to BMIs then standard practices upon the basis of the then
             current performance rates generally paid by BMI to its affiliated publishers for similar performances of similar
             compositions. The number of performances for which Publisher shall be entitled to payment shall be estimated by
             BMI in accordance with its then current system of computing the number of such performances
                                     Publisher acknowledges that BM1 licenses performances of the Works of its affiliates by
             means other than on radio and television, but that unless and until such time as methods are adopted for tabulation of
             and payment for such performances, payment will be based solely on performances in those media and locations
             then currently surveyed In the event that during the term of this agreement BMI shall establish a system Of separate
             payment for performances by means other than radio and television, BMI shall pay Publisher upon the basis of the
             then current performance rates generally paid by 13MI to its other affiliated publishers for similar performances of
             similar compositions.                                                                                       •
                                 (2) For performances of Works outside of the United States, its territories and possessioni, BM'
             will pay to Publisher monies received by pmi in the United States from any performing rights licensing organization
             which are designated by such organization as the publisher's share of foreign performance royalties earned by any of
             the Works after the deduction of BMI's then current handling charge applicable to its affiliated publishers and in
             accordance with BMI's then standard practices of payment for stich performances.,    .
                                 (3)In the case of Works which, or rights in which, are owned by Publisher jointly with one or
             more other publishers, the sinn payable to Publisher under this subparagraph A shall be a pro rata share determined
              on the basis of the number of publishers, unless BM1 Shall have received from Publishers Copj , of an agreement or
              other document signed by all of the publishers providing for a different division Of'payment;            2



                               B. Notwithstanding the provisions of subparagraph A of this paragraph 5, BM1 shall have no
              obligation to make payment hereunder with respect to (1) "any performance of a Work which Occurs prior to the date
              on which BMI shall have received front. Publisher all of the Material with respect to such Work referred to in
              Subparagraph A Of paragraph 12 hereof and in the case of foreign performanceS, the infonnetion referred to
              subparagraph B of paragraph 16 hereof, or (2) any performance of a Work as to which a direct license as described
              in subparagraph C of paragraph 4 'hereof has been granted by Publisher, its co-publishers or the i rriters, or (3) any
              performance for which no license fees shall be collected by i3w, or (4) any performance of a Work which Publisher
              claims was either omitted from or miscalculated on a royalty statement and for which BMI shall not have received
              written notice from Publisher of such. claimed
                                                      . , omission or miscalculation within nine _(9) months Of the date of the
              royalty distribution seeking to be adjusted.
                        6. In accordance with BlyiPs then current standard practices, BMI will furnish periodic statements to
              Publisher during each year of the term showing the monies dui pursuant to subparagraph A of paragraph 5 hereof.




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        Each such statement shall be accompanied by payment of the sum thereby shown to be due to Publisher, subject to
            all proper deductions, if any, for taxes, advances or amounts due to BMI from Publisher.

                     7.
                            A. Nothing in this agreement requires BMI to continue to license the Works subsequent to the
            termination of this agreement. In the event that BMI continues to license Publisher's interest in any Work, however,
            BMI shall continue to make payments to Publisher for such Work for so long as Publisher does not make or purport
            to make directly or indirectly any grant of performing rights in such Work to any other licensing organization. The
            amounts of such payments shall be calculated pursuant to BMI's then current standard practices upon the basis of the
            then current performance rates generally paid by BMI to its affiliated publishers for similar performances of similar
            compositions. Publisher agrees to notify BMI by registered or certified mail of any grant or purported grant by
            Publisher directly or indirectly of performing rights to any other performing rights organization within ten (10) days
             from the making of such grant or purported grant and if Publisher fails so to inform 13MI thereof and BMI makes
             payments to Publisher for any period after the making of any such grant or purported grant, Publisher agrees to repay•
             to BMI all amounts so paid by BMI promptly with or without demand by SMI. In addition, if BMI inquires of
             Publisher by registered or certified mail, addressed to Publishers last known address, whether Publisher has made
             any such grant or purported grant and Publisher fails to confirm to BMI by registered or certified mail within thirty
             (30) days of the mailing of such inquiry that Publisher has not made any such grant or purported grant, BMI may
             from and after such date, discontinue makirig any payments to Publisher.
                              B. 131v1I's obligation to continue payment to Publisher after the termination of this agreement for
             performances outside of the United States, its territories and possessions, of Works which BMI continues to license
             after such termination shall be dependent upon BMI's receipt in the United States of payments designated by foreign
             performing rights licensing organizations as the publisher's share of foreign performance royalties earnedl*the
             Works. Payment of such foreign royalties shall be Subject to deduction of BMI's then current handling charge
             applicable to its affiliated publishers and shall be in accordance with EIMI's then standard practices of payment for
             such performances.
                       8. In the event that BMI has reason to believe that Publisher will receive, or is entitled to receive, or is
             receiving payment from a performing rights licensing Organization other than BMI for or based on United States
             performances of one or more of the Works during a period when such Works were licensed by BMI Pursuant to this
             agreement, BMI shall have the right to withhold payment for such Performances from Publisher until receipt of
             evidence satisfactory to BMI that Publisher was not or will not be so paid by such other organization. In the event
             that Publisher was or will be so paid or does not supply such evidence within twelve (12) months from the date of
             BMI's request therefor, BMI shall be ender. no . obligation to make any payment to Publisher for performances of
              such Works during such period:
                          9.
                              A. In the event that this agreement shall terminate at a time when, after crediting all earnings reflected
             by statements rendered to Publisher prior to the effective date of such termination, there remains an unearned
             balance of advances paid to Publisher by BMI or any other indebtedness owed to BMI by Puhlishei, such
             termination shall not be effective until the close Of the calendar quarterly period during which ( 1 ) 1,,o,li#,,, shall
             repay such unearned balance of advances or indebtedness, or (2) Publisher Shan , daffy 13MI by r̀egistered or certified
             mail that Publisher has received a statement rendered by BMI at its normal accounting time showing that such
             unearned balance of advances or indebtedness has been fully recouped by                                               -
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                         10. Notwithstanding the termination of this agreement, all of the terms and conditions of this agreenient
              shall continue to apply subsequent to such termination with respect to any Works which may continue to be licensed
              by BM1 and any monies payable to Publisher by BMI pursuant to the provisions of this agreethent.
                          11.
                               A. BM' shall have the right, upon written notice to Publisher, to exclude from this agreement, at any
              time, any Work which in BMI's opinion is similar to a previously existing compositiori and might constitute a
              copyright infringement, or has a title or music or lyric similar to that of a previously existing composition and might
              lead to a claim of unfair competition.


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                     the case of Works which in the opinion of BMI are based on compositions in the public
           domain, BMI shall have the right, at any time, upon written notice to Publisher, either (1) to exclude any such Work
           from this agreement, or (2) to classify any such Work as entitled to receive only a stated fraction of the full credit
           that would otherwise be given for performances thereof.
                            C. In the event that any Work is excluded from this agreement pursuant to subparagraph A or B of
           this paragraph 11, or pursuant to subparagraph C of paragraph 14 hereof, all rights of BMI in such Work shall
           automatically revert to Publisher ten (10) days after the date of the notice of such exclusion given by BMI to
           Publisher. In the event that a Work is classified for less than full credit under subparagraph 13 (2) of this paragraph
            11, Publisher shall have the right, by giving notice to BMI within ten (10) days after the date of BMTs notice to
           Publisher of the credit allocated to such Work, to terminate all rights in such Work granted to BMI herein and all
           such rights of BMI in such Work shall thereupon revert to Publisher.
                    12.
                          A. With respect to each of the Works which has been or shall be published or recorded
           commercially or synchronized with motion picture or television film or tape or which Publisher considers likely to
           be performed, Publisher agrees to furnish to BMI:
                               (1)A completed work registration form available in blank from BMI, unless a cue sheet with
           respect to such Work is furnished pursuant to subparagraph A (3) of this paragraph 12.
                                 (2)If such Work is based on a composition in the public domain, a legible lead sheet or other
           written or printed copy of such Work setting forth the lyrics, if any, and music correctly Metered; provided that with
           respect to all other Works, such copy need be furnished only if requested by BMI pursuant to subsection (3) of
           subparagraph D (2) of this paragraph 12.
                                (3) If such Work has been or shall be synchronized with or otherwise used in connection with
           motion picture or television film or tape; a cue sheet showing the title, writers, publisher and nature and duration of
           the use of the Work in such film or tape.
                             B. Publisher shall submit the material described in subparagraph A of this paragraph 12 with respect
           to Worlcs heretofore published, recorded or synchronized within ten (10) days after the execution of this agreement
           and with respect to any of the Works hereafter so published, recorded, synchronized or likely to be performed prior
           to the date of publication or release of the recording, film or tape or anticipated performance.
                                                              ,               '                          •
                             C. The submission of each work registration form or cue sheet shall constitute a warranty and
            representation by Publisher that all of the information contained thereon is true and correct and that no performing
            rights in any of the Works listed thereon have been granted to or reserved by others except as specifically set forth
            therein.
                            D. Publisher agrees:
                                 (1)To secure and maintain copyright protection of the Works pursuant to the Copyright Law of
            the United States and pursuant to the laws of such other nations of the world where such protection is afforded; and
            to give BMI, upon request prompt written notice of the date and number of copyright registration and/or , renewal of
            each Work registered in the United States Copyright Office.
                                 (2) At 13Mis request:
                                    (a) To register each unpublished and published Work in the United States Copyright Office
            pursuant to the Copyright Law of the United States.
                                      (b)To obtain and deliver to BMI copies of: unpublished and published Works, including
            any commercial recording of such Works; copyright registration and/or renewal certificates issued by the United
            States Copyright Office; any agreements, assignments, instruments or 'documents of any kind by which Publisher
            obtained the right to publicly perform and/or the right to publish, co-publish or sub-publish and/or the right to
            administer the performing rights in and/or collect the royalties for any of the Works.
                            E. Publisher agrees to give BMI prompt notice by registered or certified mail in each instance when,
            pursuant to the Copyright Law of the United States, (1) the rights granted to BMI by Publisher in any Work shall
            revert to the writer or the writer's representative, or (2) copyright protection of any Work shall terminate.



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            13. Publisher                   18-2
                          warrants and represents that: Filed on 03/20/17 in TXSD Page 26 of
                          A. Publisher has the right to enter into this agreement; Publisher is not bound by any prior
         commitments which conflict with its undertakings herein; the rights granted by Publisher to BMI herein are the sole
         and exclusive property of Publisher and are free from all adverse encumbrances and claims; and exercise of such
         rights will not constitute infringernent of copyright or violation of any right of or unfair competition with, any
         person, firm, corporation or association.
                         B. Except with respect to Works in which the possession of perfonning rights by another person,
         firm, corporation or association is specifically set forth on a work registration form or cue sheet submitted to BMI
         pursuant to subparagraph A of paragraph 12 hereof, Publisher has performing rights in each of the Works by virtue
         of written grants thereof to Publisher signed by the authors and composers or other owners of such Work.
                  14.
                         A. Publisher agrees to defend, indemnify, save and hold BMI, its licensees, the advertisers of its
         licensees and their respective agents, servants and employees, free and harmless from and against any and all
         demands, loss, damage, suits, judgments, recoveries and costs, including counsel fees, resulting from any claim of
         whatever nature arising from or in connection with the exercise of any of the rights granted by Publisher in this
         agreement; provided, however, that the obligations of Publisher under this paragraph 14 shall not apply to any matter
         added to, or changes made in, any Work by BMI or its licensees.
                          B. Upon the receipt by BMI or any of the other parties herein indemnified of any notice, demand,
         process, papers, writ or pleading, by which any such claim, demand, suit or proceeding is made or commenced
         against them, or any of them, which Publisher sh.11 be obliged to defend hereunder, BMI shall, as soon as may be
         practicable, give Publisher notice thereof and deliver to Publisher such papers or true copies thereof, and BMI shall
         have the right to participate and direct such defense on behalf of BMI and/or its licensees by counsel of its own
         choice, at its own expense. Publisher agrees to Cooperate with BMI in all such matters.
                         C. In the event of such notification of claim or service of process on any of the parties herein
         indemnified, BMI shall have the right, from the date thereof, to withhold payment of all sums which may become
         due pursuant to this agreement or any modification thereof and/or to exclude the Work with respect to which a claim
         is made from this agreement until receipt of satisfactory written evidence that such claim has been withdrawn, settled
         or adjudicated.
                   15. Publisher makes, constitutes and appoints BMI, or its nominee, Publisher's true and lawful attorney,
         irrevocably during the term hereof, in the name of BMI or that of its nominee, or in publisher's name, or otherwise,
         in BMI's sole judgment, to do all acts, take all proceedings, and execute, acknowledge and deliver any and all
         instruments, papers, documents, process or pleadings that, in BMI's Sole judgment may be necessary, proper or
         expedient to restrain infringement of and/or to enforce and protect the rights granted by Publisher hereunder; and to
         recover damages in respect of or for the infringement or other violation of said rights, and in BMI's sole judgment to
         join Publisher and/or others in whose names the copyrights to any of the Works may stand, and to discontinue,
         compromise or refer to arbitration, any such actions or proceedings or to make any other disposition of the disputes
         in relation to the Works; provided that any action or proceeding commenced by BMI pursuant to the provisions of
         this paragraph 15 shall be at its sole expense and for its sole benefit. Notwithstanding the foregoing nothing in this
         paragraph 15 requires BMI to take any proceeding'or other action against any person, firm, partnership or'other
          entity or any writer or publisher, whether or not affiliated with BMI, Who Publisher claims may be ihfringing
          Publisher's Works or otherwise violating the , rights granted by Publisher hereunder. In addition, Publisher
          understands and agrees that the licensing by BMI of any musical conipositions which Publisher claims maybe
          infringing Publisher's Works or otherwise violating the rights granted by PuNisher hereunder shall not constitute an
          infringement of Publisher's Works on BMI's part.
                    16.
                            A. It is acknowledged that BMI has heretofore entered into and may during the term of this
          agreement enter into contracts with performing rights licensing organizations for the licensing of public performing
          rights controlled by BMI in territories outside of the United States, its territories and possessions (herein called
          "Foreign Territories"). Upon Publisher's written request BMI agrees to permit Publisher to grant performing rights
          in any or all of the Works for any Foreign Territory for which, at the time such request is received, BMI has not
          entered into any such contract with a performing rights licensing organization; provided, however, that any such
          grant of performing rights by Publisher shall terminate at such time when BMI shall have entered into such a
          contract with a performing rights licensing organization covering such Foreign Territory and shall have notified
          Publisher thereof. Nothing herein contained, however, shall be deemed to restrict Publisher from assigning to its
          foreign publisher or representative the right to collect a part or all of the publishers' performance royalties earned by

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        any or all of the Works                   18-2
                                in any Foreign Territory as part Filed      on for
                                                                 of an agreement 03/20/17
                                                                                   the publication,in  TXSD
                                                                                                    exploitation or Page 27 of
             representation of such Works in such territory, whether or not BMI has entered into such a contract with a
             performing rights licensing organization covering such territory.
                               B. Publisher agrees to notify BM1 promptly in writing in each instance when publication,
             exploitation or other rights in any or all of the Works are granted for any Foreign Territory. Such notice shall set
             forth the title of the Work, the Foreign Territory or Territories involved, the period of such grant, the name of the
             person, firm, corporation or association entitled to collect performance royalties earned in the Foreign Territory and
             the amount of such share. Within ten (10) days after the execution of this agreement Publisher agrees to submit to
             BMI, in writing, a list of all Works as to which Publisher has, prior to the effective date of this agreement, granted to
             any person, firm, corporation or association performing rights and/or the right to collect publisher performance
             royalties earned in any Foreign Territory.
                      17. HMI shall have the right, in its sole discretion, to terminate this agreement if:
                             A. Publisher, its agents, employees, representatives or affiliated companies, directly or indirectly
             during the term of this agreement:
                                  (1) Solicits or accepts payment from or on behalf of authors for composing music for lyrics, or
             from or on behalf of composers for writing lyrics to music.
                                 (2)Solicits or accepts music and/or lyrics from composers or authors in consideration of any
             payments to be made by or on behalf of such composers or authors for reviewing, arranging, promotion, publication,
             recording or any other services connected with the exploitation of any composition.
                                 (3)Permits Publisher's name, or the fact of its affiliation with Bli g, to be used by any other
             person, firm, corporation or association engaged in any of the practices described in subparagraphs A (1) and A (2)
             of this paragraph 17.
                                (4)Submits to BMI, as one of the Works to come within this agreement, any musical
             composition with respect to which any payments described in subparagraphs A (1) and A (2) of this paragraph 17
             have been made by or on behalf of a composer or author to any person, firm, corporation or association.
                              B. Publisher, its agents, employees or representatives directly or indirectly during the term of this
             agreement makes any effort to ascertain from, or offers any inducement or consideration to, anyone, including but
             not limited to any radio or television licensee of BMI or to the agents, ernployeeS or representatives of 13M1 or of
             any such licensee, for information regarding the time or times when any such BIv11 licensee is to report its
             performances to BMI, or to attempt in any way to manipulate performances or affect the representative character or
             accuracy of BMI's system of sampling or monitoring performances
                             C. Publisher fails to notify BMI's Department of Writer/Publisher Administration promptly in
             writing of any change of firm name, ownership or address of Publisher.
                             In the event BMI exercises its right to terminate this agreement pursuant to the provisions of
             subparagraphs A, B or C of this paragraph 17, BMI shall give Publisher at least thirty (30) days' notice by registered
             or certified mail of such termination. In the event of such termination, no payments shall be due to Publisher
             pursuant to paragraph 7 hereof
                      18. In the event that during the term of this agreement (1) mail addressed to Publisher at the last address
             furnished by Publisher pursuant to paragraph 22 shall be returned by the post office, or (2) monies shall not have
             been earned by Publisher pursuant to paragraph 5 hereof for a period of two consecutive years or more or (3) the
             proprietor, if Publisher is a sole proprietorship, shall die, 13MI shall have the right to terminate this agreement on at
             least thirty (30) days notice by registered or certified mail, electronic mail ("e-mair) or facsimile number addressed
             to the last postal or electronic address or transmitted to the last facsimile number flunished by Publisher in writing to
             BMPs Department of Writer/Publisher Administration and in the case of the death of a sole proprietor, to the
             representative of said proprietor's estate, if known to 131V11. If Publisher failed to maintain a current address with BMI
             and BM has made reasonable good faith efforts in attempting to locate Publisher without success BM1 shall have
             the right to terminate this agreement pursuant to this paragraph 18 by regular first-class U.S. mail, in lieu of the
             means otherwise specified, regardless of anything in paragraph 17 to the contrary. In the event of such termination,
             no payments shall be due Publisher pursuant to paragraph 7 hereof.
                       19. Publisher acknowledges that the rights obtained by it pursuant to this agreement constitute rights to
              payment of money and that during the term BMI shall hold title to the performing rights granted to BMI hereunder.
              In the event that during the term Publisher shall file a petition in bankruptcy, such a petition shall be filed against
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        Publisher, Publisher shall make an assignment for the benefit of creditors, Publisher shall consent to the appointment
             of a receiver or trustee for all or part of its property, Publisher shall file a petition for corporate reorganization or
             arrangement under the United States bankruptcy laws, or Publisher shall institute or shall have instituted against it
             any other insolvency proceeding under the United States bankruptcy laws or any other applicable law, or, in the
             event Publisher is a partnership, all of the general partners of said partnership shall be adjudged bankrupts, 13MI
             shall retain title to the performing rights in all Works the rights to which are granted to BMI hereunder and shall
             subrogate Publisher's trustee in bankruptcy or receiver and any subsequent purchasers from them to Publisher's right
             to payment of money for said Works in accordance with the terms and conditions of this agreement.
                        20. All disputes of any kind, nature or description arising in connection with the terms and conditions of
              this agreement shall be submitted to the American Arbitration Association in New York, New York, for arbitration
              under its then prevailing rules, the arbitrator(s) to be selected as follows: Each of the parties shall, by written notice
              to the other, have the right to appoint one arbitrator. If, within ten (10) days following the giving of such notice by
              one party, the other shall not, by written notice, appoint another arbitrator, the first arbitrator shall be the sole
              arbitrator. If two arbitrators are so appointed, they shall appoint a third arbitrator. If ten (10) days elapse after the
              appointment of the second arbitrator and the two arbitrators are unable to agree upon the third arbitrator, then either
              party may, in writing, request the American Arbitration Association to appoint the third arbitrator. The award made
              in the arbitration shall be binding and conclusive on the parties and shall include the fixing of the costs, expenses
              and reasonable attomeys' fees of arbitration, which shall be borne by the unsuccessful party. Judgment may be
              entered in New York State Supreme Court or any other court having jurisdiction.
                       21. Publisher agrees that it shall not, without the written consent of BMI, assign any of its rights hereunder.
              No rights of any kind against BMI will be acquired by the assignee if any such purported assignment is made by
              Publisher without such written consent
                       22. Publisher agrees to notify BMI's Department of Writer/Publisher Administration promptly in writing of
              any change in Publisher's postal or electronic ("e-mail") address, or facsimile number. Any notice sent to Publisher
              pursuant to the terms of this agreement shall be valid if addressed to Publisher at the last postal Or electronic address
              or facsimile number so furnished by Publisher.
                        23. This agreement shall be subject to BMI's standard practices and procedures which are in effect as of
              the effective date of this agreement and as they may be modified and/or supplemented from time to time.
                        24. Publisher acknowledges that the relationship between 13MI and Publisher which is created by this
              agreement is one of ordinary contracting parties and is not intended to be a fiduciary relationship with respect to any
              of the rights or obligations hereunder.                  approved   d            approved
                       25. Publisher authorizes the inclusion of Publisher's name/likeness and/biographical information, and
              those of Publisher's executive employees, in publicly-distributed material relating to Publisher's association with
              BMI.
                        26. This agreement constitutes the entire agreement between BIVII and Publisher, cannot be changed except
              in a writing signed by EMI and Publisher and shall be governed and construed pursuant to the lawa of the State of
              New Yorlc.
                        27. In the event that any part or parts of this agreement are found to be void by a court of competent
              jurisdiction, the remaining part or parts shall nevertheless be binding with the same force and effect as if the Void
              part or parts were deleted from this agreement.
                        28. Any prior agreements, as modified, between Publisher and 13MS are canceled and superseded as of the
              effective date of this agreement. All works that were embraced by any:prior agreement between publisher and BMI
              and in which no other licensing organization controls Publisher's 'performing right interest shall be deemed embraced
              by this agreement Any unearned balance of advances previously paid to Publisher by BMI Or unpaid indebtedness
              owed to BMI by Publisher shall be deemed to be recoupable by BMI from any monies Which become payable to
              Publisher pursuant to this agreement and any extensions, renewals or modifications : If Publisher has acquired the
              works of the former BMI affiliate who is indicated on the attached terminated agreement, Men all works which were
              embraced by that agreement and in which no other licensing organization controls the Performing right interest shall
              be deemed embraced by this agreement Any unearned balance of advances previously paid to said former affiliate
              by BMI or unpaid indebtedness owed by said former affiliate to BMI shall be deemed to be recoupable by EIMI from
              any monies which become payable to Publisher pursuant to this agreement and any 'extensions, renewals or
              modifications.


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               TN WITNESS WHEREOF, the parties hereto have caused this agreement to be duly executed as of the day
      and year first above written.




      "PUBLISHER"
                                                 (62,                          Stephanie Nicks, Owner
      By                         A/v—kj
                (Authorized ignatory)                             (Print Name and Title of Signer)

      If your company structure is a PARTNERSHIP, all other partners must sign below:

      By
                      Partner                                               Panted Name

      By
                      Partner                                                Printed Name

      By
                      Partner                                                Printed Name

      By
                      Partner                                                Printed Name

      By .
                      Partner                                                Printed Name




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        Copyright Office Is hereto nAsed.




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        Maw
           COMBINE MUSIC CORP.
           812 ITth Ave. So.
       mews Nashville. Tenn.




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                                                                               FORM CORDS
                                                                               For a Work of the Performing Arts
                                                                               UNITED STATES COPYRIGHT OFFICE
                                                                               REGISTRATION NUMBER

                                                                                    PA 1-167-207
                                                                               EFFECTIVE DATE OF REGISTRATION
                                                                                   March 15, 2007
                                                                               Application received : 19Mar07
                                                                               Fee received : 19Mar07
                                                                               Deposit received : 19Mar07
TITLE OF WORK:
    REHAB as contained in "REHAB"I UNIVERSAL/ISLAND #602517095359

NATURE OF WORK:
  WORDS AND MUSIC
Name of Author: AMY WINEHOUSE
"Work made for hire"? No
Anonymous contribution? No
Pseudonymous contribution? No
Citizen of: UNITED KINGDOM
Domiciled in:
Nature of authorship : WORDS & MUSIC
YEAR OF CREATION:
                                2006
PUBLICATION:
  Date: October 24, 2006
  Nation : UNITED KINGDOM

COPYRIGHT CLAIMANT(S):
   Claimant #1:
        EMI MUSIC PUB. LTD. (C/O EMI BLACKWOOD MUSIC INC.)
        810 7TH AVENUE, 36TH FLOOR
        NEW YORK, NY 10019

TRANSFER:
      BY VIRTUE OF WRITTEN AGREEMENT
PREVIOUS REGISTRATION: Has registration for this work or for an earlier version of this work already been made in the
Copyright Office?
                                No.
DEPOSIT ACCOUNT: The fee for this registration has been charged to the following account:
      Name: EMI MUSIC PUBLISHING (CORDS)
      Account Number: 090557




                                                                                                            Page 1 of 2
              Case 3:16-cv-00049 Document 18-2 Filed on 03/20/17 in TXSD Page 89 of 182
Copyright Office Annotations: Examined by: db
                                    Correspondence: Yes

CORRESPONDENCE: Correspondence about this application may be addressed to:
     EMI MUSIC PUBLISHING
              810 7TH AVENUE, 36TH FLOOR
              NEW YORK, NY 10019

Daytime phone number : 212-830-5107
Evening phone number: 212 -830-5107
FAX number: 212-830-5198
Email address : rcabiltes@emimusicpub.com


PERSON TO CONTACT FOR RIGHTS AND PERMISSIONS:
      EMI MUSIC PUBLISHING
              Attn: RON CABILTES
              810 7TH AVENUE, 36TH FLOOR
              NEW YORK, NY 10019

Daytime phone number : 212-830-5107
FAX number: 212-830-5198
Email address: rcabiltes @emimusicpub.com

I, the undersigned, hereby certify that I have the authority to submit this application and that the statements made herein
are correct to the best of my knowledge.
       /C=US/ST=AL/O=EMI Music Publishing/OU=Copyright/CN=Ronald Cabiltes/
                           The digital signature of the applicant is on file.

                                                                           End of Copyright Registration Data




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MAIL CERTIFICATE TO:
       EMI MUSIC PUBLISHING
       ATTN: RON CABILTES
       810 7TH AVENUE, 36TH FLOOR
       NEW YORK, NY 10019



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But

AGREEMENT made on January 23, 2006 between BROADCAST MUSIC, INC. (" BMI"), a New York
corporation , whose address is 320 West 57th Street, New York, N.Y.10019-3790 and EMI Blackwood Music Inc., a
Connecticut corporation ("Publisher"), whose address is c/o EMI Entertainment World Inc., 810 Seventh Avenue,
New York, NY 10019-5818



                                                WITNESSETH:

          1. The term of this agreement shall be the period from April 1, 2005 to December 31, 2008, and
continuing thereafter for additional periods of five (5) years each unless terminated by either party at the end of said
initial period or any additional period, upon notice sent by registered , certified or Express mail, or other sending
method that requires that the date that the item is sent be recorded by the courier (e.g., overnight mail or messenger
service), not more than six (6) months or less than three (3) months prior to the end of any such period.

         2. As used in this agreement , the word "Work" or "Works" shall mean:
                A. All musical compositions (including the musical segments and individual compositions written
for a dramatic or dramatico -musical work) whether published or unpublished , now owned or copyrighted by
Publisher or in which Publisher owns or controls performing rights, and
                 B. All musical compositions (including the musical segments and individual compositions written
for a dramatic or dramatico-musical work) whether published or unpublished, in which hereafter during the term
Publisher acquires ownership of copyright or ownership or control of the performing rights, from and after the date
of the acquisition by Publisher of such ownership or control.
         3. Except as otherwise provided herein, Publisher hereby sells, assigns and transfers to BMI, its successors
or assigns, for the tern of this agreement:
                A. All the rights which Publisher owns or acquires publicly to perform, and to license others to
perform, anywhere in the world, in any and all places and in any and all media , now known or which hereafter may
be developed , any part or all of the Works.
                B. The non-exclusive right to record, and to license others to record, any part or all of any of the
Works on electrical transcriptions , wire, tape, film or otherwise , but only for the purpose of performing such Work
publicly by means of radio and television or for archive or audition purposes. This right does not include recording
for the purpose of sate to the public or for the purpose of synchronization (1) with motion pictures intended
primarily for theatrical exhibition or (2) with programs distributed by means of syndication to broadcasting stations,
cable systems or other similar distribution outlets.
               C. The non-exclusive right to adapt or arrange any part or all of any of the Works for performance
purposes, and to license others to do so.
         4. Notwithstanding the provisions of subparagraph A of paragraph 3 hereof:

              A. The rights granted to BMI by said subparagraph A shall not include the right to perform or license
the performance of more than one song or aria from a dramatic or dramalico-musical work which is an opera,




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operetta or musical show or more than five (5) minutes from a dramatic or dramatico-musical work which is a ballet,
if such performance is accompanied by the dramatic action, costumes or scenery of that dramatic or
dramatico-musical work.
                 B. Publisher, together with all the writers and co -publishers, if any, shall have the right jointly, by
written notice to BMI , to exclude from the grant made by subparagraph A of paragraph 3 hereof performances of
Works comprising more than thirty (30) minutes of a dramatic or dramatico-musical work, but this right shall not
apply to such performances from ( 1) a score originally written for or performed as part of a theatrical or television
film, (2) a score originally written for or performed as part or n radio or television program , or (3) the original cast,
sound track or similar album of a dramatic or dmmatico-musical work.
                C. Publisher, the writers and/or co-publishers , if any, retain the right to issue non-exclusive licenses
for performances of a Work or Works in the United States , its territories and possessions (other than to another
performing rights licensing organization), provided that within ten ( 10) days of the issuance of such license or within
three (3) months of the performance of the Work or Works so licensed , whichever is earlier, BMI is given written
notice thereof and a copy of the license is supplied to BMI.
         5.
                A. As full consideration for all rights granted to BMI hereunder and as security therefor , BM1 agrees
to make the following payments to Publisher with respect to each of the Works in which BMh has performing rights:
                 (I) For radio and television performances of Works in the United States , its territories and
possessions, BMI will pay amounts calculated pursuant to BMrs then standard practices upon the basis of the then
current performance rates generally paid by BMl to its affiliated publishers for similar perforances of similar
compositions. The number of performances for which Publisher shall be entitled to payment shall be estimated by
BMI in accordance with its then current system of computing the number of such perfor mances.

                      Publisher acknowledges that BMI licenses performances of the Works of its affiliates by
means other than on radio and television, but that unless and until such time as methods are adopted for tabulation of
and payment for such performances , payment will be based solely on performances in those media and locations
then currently surveyed. In the event that during the term of this agreement BMi shall establish a system of separate
payment for performances by means other than radio and television, BMI shall pay Publisher upon the basis of the
then current performance rates generally paid by BM1 to its other affiliated publishers for similar performances of
similar compositions.
                   (2) For performances of Works outside of the United States , its territories and possessions, BMI
will pay to Publisher monies received by BMI in the United States from any performing rights licensing organization
which are designated by such organization as the publisher 's share of foreign performance royalties earned by any of
the Works after the deduction of BMrs then current handling charge applicable to its affiliated publishers and in
accordance with BMrs then standard practices of payment for such performances.
                   (3) In the case of Works which , or rights in which, are owned by Publisher jointly with one or
more other publishers, the sum payable to Publisher under this subparagraph A shall be a pro rata share determined
on the basis of the number of publishers, unless BMI shall have received from Publisher a copy of an agreement or
other document signed by all of the publishers providing for a different division of payment.
                B. Notwithstanding the provisions of subparagraph A of this paragraph 5, BMI shall have no
obligation to make payment hereunder with respect to (1) any performance of a Work which occurs prior to the date
on which BMI shall have received from Publisher all of the material with respect to such Work referred to in
subparagraph A of paragraph 12 hereof, and in the case of foreign performances , the information referred to in
subparagraph B of paragraph 16 hereof, or (2) any performance of a Work as to which a direct license as described
in subparagraph C of paragraph 4 hereof has been granted by Publisher, its co-publishers or the writers , or (3) any
performance for which no license fees shall be collected by BM1 , or (4) any performance of a Work which Publisher
claims was either omitted from or miscalculated on a royalty statement and for which BMI shall not have received
written notice from Publisher of such claimed omission or miscalculation within nine (9) months of the date of the
royalty distribution seeking to be adjusted.
        6. In accordance with BMI 's then current standard practices , BMf will furnish periodic statements to
Publisher during each year of the term showing the monies due pursuant to subparagraph A of paragraph 5 hereof.




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Each such statement shall be accompanied by payment of the sum thereby shown to be due to Publisher, subject to
all proper deductions , if any, for taxes, advances or amounts due to BMI from Publisher.

         7.
                 A. Nothing in this agreement requires BMI to continue to license the Works subsequent to the
termination of this agreement. In the event that BMI continues to license Publisher's interest in any Work, however,
BMI shall continue to make payments to Publisher for such Work for so long as Publisher does not make or purport
to make directly or indirectly any grant of performing rights in such Work to any other licensing organization. The
amounts of such payments shall be calculated pursuant to BMI 's then current standard practices upon the basis of the
then current performance rates generally paid by BMI to its affiliated publishers for similar performances of similar
compositions. Publisher agrees to notify BMI by registered or certified mail of any grant or purported grant by
Publisher directly or indirectly of performing rights to any other performing rights organization within ten (10) days
from the making of such grant or purported grant and if Publisher fails so to inform BMI thereof and BMI makes
payments to Publisher for any period after the making of any such grant or purported grant, Publisher agrees to repay
to BMI all amounts so paid by BMI promptly with or without demand by BMt. In addition , if BMI inquires of
Publisher by registered or certified mail , addressed to Publisher's last known address, whether Publisher has made
any such grant or purported grant and Publisher fails to confirm to BMI by registered or certified mail within thirty
(30) days of the mailing of such inquiry that Publisher has not made any such grant or purported grant, BMI may,
from and after such date , discontinue making any payments to Publisher.
                 B. BMI's obligation to continue payment to Publisher after the termination of this agreement for
performances outside of the United States , its territories and possessions , of Works which BMI continues to license
after such termination shall be dependent upon BMI's receipt in the United States of payments designated by foreign
performing rights licensing organizations as the publisher's share of foreign performance royalties earned by the
Works . Payment of such foreign royalties shall be subject to deduction of BMI's then current handling charge
applicable to its affiliated publishers and shall be in accordance with BMI's then standard practices of payment for
such performances.

          8. In the event that BM1 has reason to believe that Publisher will receive , or is entitled to receive, or is
receiving payment from a performing rights licensing organization other than BMI for or based on United States
performances of one or more of the Works during a period when such Works were licensed by BMI pursuant to this
agreement, BMI shall have the right to withhold payment for such performances from Publisher until receipt of
evidence satisfactory to BM1 that Publisher was not or will not be so paid by such other organization . In the event
that Publisher was or will be so paid or does not supply such evidence within twelve ( 12) months from the date of
BMI's request therefor, BM1 shall be under no obligation to make any payment to Publisher for performances of
such Works during such period.
          9.
               A. In the event that this agreement shall terminate at a time when, after crediting all earnings reflected
by statements rendered to Publisher prior to the effective date of such termination , there remains an unearned
balance of advances paid to Publisher by BMI or any other indebtedness owed to BM1 by Publisher, such
termination shall not be effective until the close of the calendar quarterly period during which ( 1) Publisher shall
repay such unearned balance of advances or indebtedness, or (2) Publisher shall notify HMI by registered or certified
mail that Publisher has received a statement rendered by BMI at its normal accounting time showing that such
unearned balance of advances or indebtedness has been fully recouped by BM1.
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            10. Notwithstanding the termination        agreement, all of the of
                                                                             termsthis    may
                                                                                   and conditins     C agreement
                                                                                                 of this mt.1:0
shall continue to apply subsequent to such termination with respect to any Works whichcontinue to be licensed
by BM1 and any monies payable to Publisher by BMI pursuant to the provisions of this agreement.
          11.
                 A. BMI shall have the right, upon written notice to Publisher , to exclude from this agreement, at any
time, any Work which in BMI' s opinion is similar to a previously existing composition and might constitute a
copyright infringement, or has a tide or music or lyric similar to that of a previously existing composition and might
lead to a claim of unfair competition.



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               B. In the case of Works which in the opinion of BMI are based on compositions in the public
domain, BMI shall have the right, at any time , upon written notice to Publisher, either ( 1) to exclude any such Work
from this agreement, or (2) to classify any such Work as entitled to receive only a stated fraction of the fill credit
that would otherwise be given for performances thereof.

                 C. In the event that any Work is excluded from this agreement pursuant to subparagraph A or B of
this paragraph 11, or pursuant to subparagraph C of paragraph 14 hereof , all rights of BMI in such Work shall
automatically revert to Publisher ten (10) days after the date of the notice of such exclusion given by BMI to
Publisher. In the event that a Work is classified for less than full credit under subparagraph B (2) of this paragraph
 11. Publisher shall have the right, by giving notice to BMI within ten (10) days after the date of BMI's notice to
Publisher of the credit allocated to such Work, to terminate all rights in such Work granted to EM] herein and all
such rights of BMI in such Work shall thereupon revert to Publisher.
         12.
               A. With respect to each of the Works which has been or shall be published or recorded
commercially or synchronized with motion picture or television film or tape or which Publisher considers likely to
be performed, Publisher agrees to furnish to BM1:
                   (1) A completed work registration form available in blank from BMI, unless a cue sheet with
respect to such Work is furnished pursuant to subparagraph A (3) of this paragraph 12.
                     (2) If such Work is based on a composition in the public domain, a legible lead sheet or other
written or printed copy of such Work setting forth the lyrics, if any, and music correctly metered; provided that with
respect to all other Works, such copy need be furnished only if requested by BMl pursuant to subsection (b) of
subparagraph D (2) of this paragraph 12.
                     (3) If such Work has been or shall be synchronized with or otherwise used in connection with
motion picture or television film or tape , a cue sheet showing the title, writers , publisher and nature and duration of
the use of the Work in such film or tape.
                 B. Publisher shall submit the material described in subparagraph A of this paragrapli 12 with respect
to Works heretofore published, recorded or synchronized within ten (10) days after the execution of this agreement
and with respect to any of the Works hereafter so published, recorded, synchronized or likely to be performed prior
to the date of publication or release of the recording, film or tape or anticipated performance.
                 C. The submission of each work registration form or cue sheet shall constitute a warranty and
representation by Publisher that all of the information contained thereon is true and correct and that no performing
rights in any of the Works listed thereon have been granted to or reserved by others except as specifically set forth
therein.
                D. Publisher agrees:
                    (I) To secure and maintain copyright protection of the Works pursuant to the Copyright Law of
the United States and pursuant to the laws of such other nations of the world where such protection is afforded; and
to give BMI, upon request, prompt written notice of the date and number of copyright registration and/or renewal of
each Work registered in the United States Copyright Office.
                      (2) At BMPs request:
                        (a) To register each unpublished and published Work in the United States Copyright Office
pursuant to the Copyright Law of the United States.
                         (b) To obtain and deliver to BM1 copies or. unpublished and published Works , including
any commercial recording of such Works; copyright registration and/or renewal certificates issued by the United
States Copyright Office; any agreements, assignments, instruments or documents of any kind by which Publisher
obtained the right to publicly perform and /or the right to publish, co-publish or sub-publish and/or the right to
administer the performing rights in and/or collect the royalties for any of the Works.
                E. Publisher agrees to give BMI prompt notice by registered or certified mail in each instance when,
pursuant to the Copyright Law of the United States, ( 1) the rights granted to BMI by Publisher in any Work shall
revert to the writer or the writer's representative, or (2) copyright protection of any Work shall terminate.




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         13. Publisher warrants and represents that:
                 A. Publisher has the right to enter into this agreement ; Publisher is not bound by any prior
commitments which conflict with its undertakings herein; the rights granted by Publisher to BMI herein are the sole
and exclusive property of Publisher and are free from all adverse encumbrances and claims ; and exercise of such
rights will not constitute infringement of copyright or violation of any right of, or unfair competition with, any
person, fine, corporation or association.
                B. Except with respect to Works in which the possession of performing rights by another person,
firm, corporation or association is specifically set forth on a work registration form or cue sheet submitted to BMI
pursuant to subparagraph A of paragraph 12 hereof, Publisher has performing rights in each of the Works by virtue
of written grants thereof to Publisher signed by the authors and composers or other ow ners of such Work.
         14.
                A. Publisher agrees to defend , indemnify, save and hold BMI, its licensees, the advertisers of its
licensees and their respective agents , servants and employees, free and harmless from and against any and all
demands, loss, damage, suits, judgments, recoveries and costs, including counsel fees , resulting from any claim of
whatever nature arising from or in connection with the exercise of any of the rights granted by Publisher in this
agreement; provided, however, that the obligations of Publisher under this paragraph 14 shall not apply to any matter
added to, or changes made in, any Work by BMI or its licensees.
                 B. Upon the receipt by SMI or any of the other parties herein indemnified of any notice, demand,
process, papers, writ or pleading, by which any such claim, demand, suit or proceeding is made or commenced
against them, or any of them, which Publisher shall be obliged to defend hereunder, BMI shall, as soon as may be
practicable, give Publisher notice thereof and deliver to Publisher such papers or true copies thereof, and HMI shall
have the right to participate and direct such defense on behalf of BMI and /or its licensees by counsel of its own
choice, at its own expense. Publisher agrees to cooperate with BMI in all such matters.
                C. In the event of such notification of claim or service of process on any of the parties herein
indemnified, BMI shall have the right, from the date thereof, to withhold payment of all sums which may become
due pursuant to this agreement or any modification thereof and/or to exclude the Work with respect to which a claim
is made from this agreement until receipt of satisfactory written evidence that such claim has been withdrawn , settled
or adjudicated.
         15. Publisher makes, constitutes and appoints BMI, or its nominee , Publishers true and lawful attorney,
irrevocably during the term hereof, in the name of BMI or that of its nominee , or in Publishers name, or otherwise,
in BC's sole judgment, to do all acts, take all proceedings, and execute, acknowledge and deliver any and all
insmanents, papers, documents, process or pleadings that, in BMI 's sole judgment, may be necessary, proper or
expedient to restrain infringement of and /or to enforce and protect the rights granted by Publisher hereunder, and to
recover damages in respect of or for the infringement or other violation of said rights , and in BMI 's sole judgment to
join Publisher and/or others in whose names the copyrights to any of the Works may stand , and to discontinue,
compromise or refer to arbitration, any such actions or proceedings or to make any other disposition of the disputes
in relation to the Works ; provided that any action or proceeding commenced by BMI pursuant to the provisions of
this paragraph 15 shall be at its sole expense and for its sole benefit . Notwithstanding the foregoing , nothing in this
paragraph 15 requires BMI to take any proceeding or other action against any person , firm, partnership or other
entity or any writer or publisher , whether or not affiliated with BMI , who Publisher claims may be infringing
Publishers Works or otherwise violating the rights granted by Publisher hereunder . In addition, Publisher
understands and agrees that the licensing by BMI of any musical compositions which Publisher claims may be
infringing Publisher's Works or otherwise violating the rights granted by Publisher hereunder shall not constitute an
 infringement of Publisher's Works on BMI's part.
          16.
                  A. It is acknowledged that BMI has heretofore entered into, and may during the term of this
agreement enter into, contracts with performing rights licensing organizations for the licensing of public performing
rights controlled by BMI in territories outside of the United States , its territories and possessions (herein called
"Foreign Territories"). Upon Publisher' s written request, BMI agrees to permit Publisher to grant performing rights
in any or all of the Works for any Foreign Territory for which, at the time such request is received, BMI has not
entered into any such contract with a performing rights licensing organization ; provided, however, that any such
grant of performing rights by Publisher shall terminate at such time when BMI shall have entered into such a
contract with a performing rights licensing organization covering such Foreign Territory and shall have notified
Publisher thereof. Nothing herein contained, however, shall be deemed to restrict Publisher from assigning to its
foreign publisher or representative the right to collect a part or all of the publishers ' performance royalties earned by

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any or all of the Works in any Foreign Territory as part of an agreement for the publication, exploitation or
representation of such Works in such territory, whether or not BMI has entered into such a contract with a
performing rights licensing organization covering such territory.

                  B. Publisher agrees to notify BMI promptly in writing in each instance when publication,
exploitation or other rights in any or all of the Works are granted for any Foreign Territory . Such notice shall set
forth the title of the Work, the Foreign Territory or Territories involved , the period of such grant , the name of the
person, firm, corporation or association entitled to collect performance royalties earned in the Foreign Territory and
the amount of such share . Within ten ( 10) days after the execution of this agreement Publisher agrees to submit to
BMI, in writing, a list of all Works as to which Publisher has, prior to the effective date of this agreement , granted to
any person, firm, corporation or association performing rights and/or the right to collect publisher performance
royalties earned in any Foreign Territory.
         17. BMI shall have the right , in its sole discretion, to terminate this agreement if:
                A. Publisher, its agents, employees , representatives or affiliated companies, directly or indirectly
during the term of this agreement:
                     (1) Solicits or accepts payment from or on behalf of authors for composing music for lyrics, or
from or on behalf of composers for writing lyrics to music.
                    (2) Solicits or accepts music and/or lyrics from composers or authors in consideration of any
payments to be made by or on behalf of such composers or authors for reviewing , arranging, promotion, publication,
recording or any other services connected with the exploitation of any composition.
                    (3) Permits Publisher's name, or the fact of its affiliation with BMI, to be used by any other
person, firm, corporation or association engaged in any of the practices described in subparagraphs A (I) and A (2)
of this paragraph 17.

                   (4) Submits to BMI, as one of the Works to come within this agreement , any musical
composition with respect to which any payments described in subparagraphs A (I) and A (2) of this paragraph 17
have been made by or on behalf of a composer or author to any person , firm, corporation or association.
                B. Publisher, its agents, employees or representatives directly or indirectly during the term of this
agreement makes any effort to ascertain from, or offers any inducement or consideration to, anyone , including but
not limited to any radio or television licensee of BMI or to the agents , employees or representatives of BMI or of
any such licensee, for information regard ing the time or times when any such BMI licensee is to report its
performances to BM1, or to attempt in any way to manipulate performances or affect the representative character or
accuracy of BMI's system of sampling or monitoring performances.
                C. Publisher fails to notify BMI's Department of Writer/Publisher Administration promptly in
writing of any change of firm name , ownership or address of Publisher.

                 In the event BMi exercises its right to terminate this agreement pursuant to the provisions of
subparagraphs A, B or C of this paragraph 17, BMf shall give Publisher at least thirty (30 ) days' notice by registered
or certified mail of such termination. In the event of such termination, no payments shall be due to Publisher
pursuant to paragraph 7 hereof.

          18. In the event that during the term of this agreement ( I) mail addressed to Publisher at the last address
furnished by Publisher pursuant to paragraph 22 shall be returned by the post office , or (2) monies shall not have
been earned by Publisher pursuant to paragraph 5 hereof for a period of two consecutive years or more , or (3) the
proprietor, if Publisher is a sole proprietorship , shall die, BMI shall have the right to terminate this agreement on at
least thirty (30) days' notice by registered or certified mail, electronic mail ("e-mail ") or facsimile number addressed
to the last postal or electronic address or transmitted to the last facsimile number furnished by Publisher in writing to
BMI's Department of Writer/ Publisher Administration and, in the case of the death of a sole proprietor, to the
representative of said proprietor 's estate, if known to BMI. If Publisher failed to maintain a current address with BMI
and BMI has made reasonable good -faith efforts in attempting to locate Publisher without success, BMI shall have
the right to terminate this agreement pursuant to this paragraph 18 by regular first -class U.S. mail, in lieu of the
means otherwise specified, regardless of anything in paragraph 17 to the contrary . In the event of such termination,
no payments shall be due Publisher pursuant to paragraph 7 hereof.
         19. Publisher acknowledges that the rights obtained by it pursuant to this agreement constitute rights to
payment of money and that during the term BMI shall hold title to the performing rights granted to BMI hereunder.
In the event that during the term Publisher shall file a petition in bankruptcy , such a petition shall be filed against

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Publisher, Publisher shall make an assignment for the benefit of creditors, Publisher shall consent to the appointment
of a receiver or trustee for all or part of its property , Publisher shall file a petition for corporate reorganization or
arrangement under the United States bankruptcy laws, or Publisher shall institute or shall have instituted against it
any other insolvency proceeding under the United States bankruptcy laws or any other applicable law, or, in the
event Publisher is a partnership , all of the general partners of said partnership shall be adjudged bankrupts, BMI
shall retain title to the performing rights in all Works the rights to which are granted to BMI hereunder and shall
subrogate Publisher 's trustee in bankruptcy or receiver and any subsequent purchasers from them to Publisher's right
to payment of money for said Works in accordance with the terms and conditions of this agreement
          20. All disputes of any kind, nature or description arising in connection with the terms and conditions of
this agreement shall be submitted to the American Arbitration Association in New York, New York, for arbitration
under its then prevailing rules, the arbitrator (s) to be selected as follows: Each of the parties shall , by written notice
to the other, have the right to appoint one arbitrator. If, within ten (10) days following the giving of such notice by
one party, the other shall not, by written notice, appoint another arbitrator , the first arbitrator shall be the sole
arbitrator. If two arbitrators are so appointed, they shall appoint a third arbitrator . If ten ( 10) days elapse after the
appointment of the second arbitrator and the two arbitrators are unable to agree upon the third arbitrator , then either
party may, in writing, request the American Arbitration Association to appoint the third arbitrator . The award made
in the arbitration shall be binding and conclusive on the parties and shall include the fixing of the costs , expenses
and reasonable attorneys' fees of arbitration , which shall be borne by the unsuccessful party. Judgment may be
entered in New York State Supreme Court or any other court having jurisdiction. ,
         21. Publisher agrees that it shall not, without the written consent of BMI , assign any of its rights hereunder.
No rights of any kind against BM1 will be acquired by the assignee if any such purported assignment is made by
Publisher without such written consent.
         22. Publisher agrees to notify BMI's Department of Writer/Publisher Administration promptly in writing of
any change in Publisher 's postal or electronic ("c-mail") address, or facsimile number. Any notice sent to Publisher
pursuant to the terms of this agreement shall be valid if addressed to Publisher at the last postal or electronic address
or facsimile number so furnished by Publisher.
          23. This agreement shall be subject to BMI's standard practices and procedures which are in effect as of
the effective date of this agreement and as they may be modified and/or supplemented from time to time.
          24. Publisher acknowledges that the relationship between BMI and Publisher which is created by this
agreement is one of ordinary contracting parties and is not intended to be a fiduciary relationship with respect to any
of the rights or obligations hereunder.
         25. Publisher authorizes the inclusion of Publisher 's name, likeness and biographical information, and
those of Publisher's executive employees , in publicly-distributed material relating to Publisher's association with
BMI.
          26. This agreement constitutes the entire agreement between BMI and Publisher, cannot be changed except
in a writing signed by BMI and Publisher and shall be governed and construed pursuant to the laws of the State of
New York.
          27. In the event that any part or parts of this agreement are found to be void by a court of competent
jurisdiction, the remaining part or parts shall nevertheless be binding with the same force and effect as if the void
part or parts were deleted from this agreement
          29. Any prior agreements, as modified , between Publisher and BMI are canceled and superseded as of the
effective date of this agreement. All works that were embraced by any prior agreement between Publisher and BMI
and in which no other licensing organization controls Publisher 's performing right interest shall be deemed embraced
by this agreement. Any unearned balance of advances previously paid to Publisher by BM or unpaid indebtedness
owed to BMI by Publisher shall be deemed to be recoupable by BMI from any monies which become payable to
Publisher pursuant to this agreement and any extensions, renewals or modifications . If Publisher has acquired the
works of the former BMI affiliate who is indicated on the attached terminated agreement , then all works which were
embraced by that agreement and in which no other licensing organization controls the performing right interest shall
be deemed embraced by this agreement. Any unearned balance of adva nces previously paid to said fonner affiliate
by BMI or unpaid indebtedness owed by said former affiliate to BMI shall be deemed to be recoupable by BMI from
any monies which become payable to Publisher pursuant to this agreement and any extensions, renewals or
modifications.



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           IN WITNESS WHEREOF, the parties hereto have caused this agreement to be duly executed as of the day
  and year rust above written.




                                      `.'^^'^ta(..V. L,L .....Martin Bandier, Chairman and CEO ...................
              (Auto zed Signs ry)                       "              ( Print Name and Title of Signer)

K your c^titpan structur Is a PARTNERSHIP , all other partners must sign below:

By .....................................................................................................................................
                    Partner Printed Name

By .............................................     ...................................................................................
                    Partner                                                               Printed Name

By .....................................................................................................................................
                    Partner Printed Name


                     Partner                                                              Printed Name

By .....................................................................................................................................
                   Partner Printed Name




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  AGREEMENT made as of this 2nd day of June 1989 BETWEEN EMI
  MUSIC PUBLISHING LIMITED of 127 Charing Cross Road, London WC2H
  OEA, England ("the Owner") of the one part and III APRIL MUSIC INC.
  and r-141 BLACKWOOD .'MUSIC INC. both of 1290 Avenue of the Americas,
  New York, NY 10104, L.S.A. ("the Publisher") of the other part.


  WHEREAS IT IS AGREED as follows:-


  1. __FINITIOSS

  In this Agreement the following terms shall where the context sc
  requires or admits have the following meanings:-

  (a) "the Owner" shall mean EMI Music Publishing Limited together
  with all of its subsidiary companies and its and their trading
  :amen as set out is t` .e Schedule hereto and marked Annexure 'A'
  including, without lisitation, EMI Songs Limited and E.MI United
  Partnership Limited (together "NewCos"), which list may be added to
  or reduced during the Term.

  (b) "the Term" shall mean the initial period of I 'one) month
  commencing on th.e date hereof. The Tern shall be automatically
  renewed for additional periods of 1 (one) month each from the
  expiration of the initial period unless either party shall sent
  notice to the other prior to the expiration of any such 1 (one)
  month period. In the event that such notice is sent the ten wi'_i
  expire on the last day of the month in which it was given.

  (c) "the Compositions" shall mean:

        (i) the Prior Compositions, and

        (ii) the words and music of all musical compositions
  hereafter acquired or controlled by the Owner during the Ter-,-
  pursuant to agreements entered into on or after 2nd June 1989 other
  than in the case of the NewCos insofar as the owner has acquired
  rights therein for the Licensed Territory, and

       (iii) the words and music of any other musical compositions
  presently owned or controlled by the owner which the owner and the
  Publisher agree during the Tern shall be made available to the
  Publisher for the Licensed Territory, and

        (iv) notwithstanding anything to the contrary contained
  herein the words and music of the musical compositions included or
  to be included in the R?M Music Limited Recorded Music Library, the
  Berry Music company Li`;ited Conroy Library, th e Themes
  international (Music) Limited Recorded music Library and the
  Francis Day and Eunter Limited Mood Music Recorded Library are
  excluded from this Agreement.

  (d) "the Prior Compositions" shall mean all those musical
  compositions which are the subject matter of all agreements between
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i


      NewCcs and EMI Entertainment world Inc. prior to this Agreement,
      the rights in which have reverted to the Owner upon the expiry of
      the said prior agreements.

      (e) "the Licensed Territory" shall aeon the territory of the
      United States of America, Canada and save in the case of
      Compositions o n ed and/or controlled by the Newcos, Israel.

      (f; "IMP" shall mean International music Publications of Southend
      Road, Woodford Green, Essex ZC8 SHN, England.

      (q) "Videcgram" shall r»ean audio visual records or similar
      contrivances where the audio-visual content is 50% (or yore) of the
      running time of such contrivance (including but without limitation
      computer software incorporating not only sonic reoroduction of the
      compositions but also visual reproduction of the lyrics thereto on
      a screen or by a print cut).


      2. GRANT OF RIGHTS:-

      In consideration of the royalties hereinafter agreed to be paid and
      of the obligations on the Publisher's part contained herein the
      Owner hereby grants by way of licence only to the Publisher subject
      to the terms and conditions hereof (and in particular to Clauses 4
      and 9 hereof) the following rights in and to the Compositions and
      each of then to the extent that the owner owns or controls the
      Compcsitions for the Licensed Territory for the Tern.

      (a) (i) The non-exclusive right to print publish and sell the
      same in any and all parts of the Licensed Territory and the
      non-exclusive right to include any of the Compositions in any album
      book or folio. The only third party having the right to print
      publish and sell copies of the Compositions in the Licensed
      territory is INP.

           (ii) In the event that the publisher or the Pubiisher's
      licensee in the Licensed Territory should reject any particular
      printed project of the Owner then the Owner shall be free to
      appoint a third party in place of the Publisher or the Publisher's
      licensee insofar as it is necessary to comply with Owner's prior
      contractual commitments with third parties.

            (iii) The Owner shall from time to time inform the Publisher
      of Compositions which may not be included in any albun, book,
      fc1-o, newspaper, magazine or periodical or wtsre such right is
      limited in which case the Publisher agrees to abide by the
      direction of the Owner in each case.

          (iv) Subject to any pre-existing arrangements or agreements
     entered into by the owner with any third party and sub-clause (i)
     above the Publisher shall have the exclusive right to import
     publications containing the Compositions or any of them into the
     Licensed Territory for sale in the Licensed Territory only.'
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                                                                      .3




       (v) The grant of rights made in this sub-clause ( a) doss not
 include the Copyright in the artwork and the ecapilatlon (1 any)
 in respect of publications produced by or on behalf of the owner
 cutside the Licensed Territory. In the avant that the Publisher
 should wish to use any such artwork and/or compilation in its own
 publications the Publisher may do so having first obtained the
 prior written permission of the relevant Copyright owner in each
 case.

 (b) The exclusive right to collect all monies arising from the
 local, performing right societies in the Licensed Territory fro,;, the
 issuance of lieencas for public performance , including broadcasting
 or television (whether by conventional means or by cable or
 satellite or such other means as may be devised ). For the avoidance
 of doubt no parson firm or company (including but without
 limitation the Publisher) other than the appropriate performing
 right societies in the Licensed Territory has any right to deal in
 performing and broadcast rights.

 (C) The exclusive right to authorise mechanical or electrical
 reproduction in the maki ng of audio gramophone records or similar
 contrivances or such other media for audio only reorcducticr, as may
 be devised or utilised (including any audio-visual record or
 similar contrivance where the audio-visual content is less than 5C%
 of the running tine) for sale to the public in the Licensed
 Territory and to collect all r.echanical royalties and fees payable
 on audio gramophone records or similar contrivances or such other
 nedia for audio only reproduction as may be devised or utilised
 sa:ld in the Licen>ed Territory wherever manufactured.

 (d) (i) The exclusive right to authorise mechanical or
 electrical reproduction in the manufacture of copies of Videograms
 in the Licensed Territory and to collect all royalties and fees
 payable or such Videogrars regardless of 'where the same may be
 sold, PROV_CED THAT the Publisher shall obtain the Owner's prior
 written permission in respect of each such licence granted for the
 use of any of the Cum.pcslticns and PROVIDED FURTHER THAT the
 Publisher shall forthwith send to the Owner details of all video
 licences issued by the Publisher or on its behalf.

       (ii) The owner reserves unto itself the exclusive right to
 authorise mechanical or e?ec_r;cal reproduction in the manufacture
 of copies of Videogra-s in al. countries of the world cutsid; the
 Licensed Territory for sale to the public (including in the
 Licensed Territory) and to collect all royalties and fees payable
    such Videograms aforesaid.

 (e) The exclusive right to grant non-exclusive wor'ld licences for
 the reccrd•:ng, reproduction and use of the Compositions in and in
 connection with notion pictures or television productions
 (including tut without limitation commercials and advertisements;
 intended to be used in. any media now known or hereafter devised
 (including but without limitation cable and satellite televis.on)
 produced in the Li=ansed Territory and the making Of copies
 thereof, of exporting suc conies to all countries of the word,
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 Publisher.  This Agreement constitutes the entire agreement between
 owner and Publisher at the data hereof with regard to the
 sub-publishing of the Cotpcsiticns and the parties hereto enter
 into it solely on that basis without reliance on any other
 representations whatsoever.


 24, PROP !? LAW:-

 (a) This Agreement shall be governed by the laws of England and
 the High Court of Justice in England shall be the Court of
 Jurisdiction.

 (b) Nothing contained in this Agreement shall in any way restrict
 the Owner's and the Publisher's rights pursuant to the Treaty of
 Rome and an y subsidiary or amending legislation or agreements
 relating thereto.




 5IGNED by



 AND by
 Directors f or and on behalf
 of EMI MUSIC ?UBLISHINC
                 LIMITED




 SIGNED by



 AND            by         }
 Directors for and on behalf
 of EMI APRIL MUSIC INC. }




 SIGNED by                                          ^ ......:...............

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 of EMI BLACXWOOD MUSIC INC.
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   ances;so licenied by Publisher, .,                              n'tia ,r—'•   •  •        • . • • :   • ':       •


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    tionTof,aid payment for such Performances, payment will be based sckly on broadcast performances. In the event
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    to its other affiliated publishers for similar performances of similar compositions.
                                  (2) For performances of works outside of the United States, its territories and pos-
    sessions BMT will pay to Publisher all monies received by BMI in the United States from any performing:rights
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    obligation to.make payment hereunder with respect led 11 any performance of a work which orcurs prior to the date
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    paragraph A'Of jiaragraph TENTH hereof, and in the cam of foreign performances, the information referred to in
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       with respect to works heretofore published, recorded.oraynchronized within ten (10) days after the execution of this
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                    •_ . •.-• .,                                   (c) To obtain and deliver to 13MI copies of: unpublished and publiabed works;                                                                                                                                                       .
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                               ritual revert 'Ag the writer or the writers representative, or (2) copyright prbtectiod-of,ey work shall terminate.
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                                         -_                 , controlled by BMI . in . territoriti outside of the United .States, its territories .and . possessions • (berein-•
                                   after, called i f foreign territories7L,Iipon 'Publisher's written request, BMI agrees to permit Publisher to grant per-
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  .... .                           forming rightsin . any or all of.theworks.for. any,foreign, terri,tOri for.Which, at the time.. such request is received, BlvII,                                                                                                                   _
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                                   foreign                          or „representative the right to collect _a part or all of thi, publishers' performance roya.ties earned --, !"..., - '...•':.."51•                                                                         .:1' .
ll - .'•                            liY? any,thr ilelit, ire ttirla IrrliNf i tgrQtita4it g iririiiit Wish lig*ta'a (di-Vibe publication, exploitation or repre-- . ' ... • .,iP,-,:t=
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                                        •                            .'• 3.) ,Publis er agrees to notify Tall promptl y in writing in each instance when publication. ex-                                                                                                                     •...-
                                   p/oitationOrother:rightsin any-Or all of theVeirksitre granted c foranyt itheirtnei-riterYI'Sueli notice shall set ford.
                                   the title of the work, the country or couhteles involved, the period of such grant, the name of the person, firm, corpora. -
                                   tion , or assmiation.entitled to ,collect performance royalties earned in the ficeign, territory . and the amount of such
                                   share; Within Ieia„.(10).'days after- the exutiOn of this agreinient Publishes - agrees to •-submit to , B,MI, in :writing,. a.
                                   list Of ill w",orilisito`which Publisher his. prior to the effec ti,ve date of this agreement, granted, to any person;firrii,,
  2...--. . • • . corporati n ocassop owe °flung. rght.s.ancorthe right,to,collect Pubbsher performance ,rozalties enn , in '
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  .                                shire of performance royslii g-eirned by any of                                                       works in any foreign territory, Publisher shall promptry _pay
 n„-,H , ; . ., • . . soch leyaltitei to the Writer OrkiNteri of tild'Workilnlietived. If Publisher is linable -Mr it4 reasbii, to locate an make                                                                                                                                             ..
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                                                                      . A. Publisher egret's that Publishtroits         ,                             agents,. employces,,representatives or affiliated compai.
                                . flies, will not directly or indirectly during the ,term of thisagreement':
                 „ •.                                         , • 2,
                                                          ,,,,„,„                                             onnccept payment from or on behalf of authors for composing music. for.
                                     lyrics, or from or on behalf of composers for writing lyrics to music.Ol .:                                                                                        'W10.1 ... I                        01111 oli
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                                         pic4.01.(2) ?-Solicati or accept manuicriptsfrom compaierior authors in consideration of any
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                   '    4-41;04               44esseyint(3)),Pcrmit,Pablishee's iumbe,:or. the fact of                          BMI, to be used by any
                      other person, firm, corporation or association engaged in any of the praetices described in subparagraphs •Aai and
                      A(2) of this paragraph FIFTEENTH. criffieettraahvf prc. ve eat
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                    PVa:                                   (4) Subtaii to HMI, none of the work, to come within this Agreement, any musical
                    i composition `with . erspect en:VAfelt           pairaelens'dincribed'itCsubpar,:graeha A (1) land A(2) of „this paragraph
                    "FIFTEENTH have been inadebY 6Firri CerallriTitonip oner            - or author to asty , person, Arm, corporation or association.
                          •     ,                                  agyenhat Publisher, its agents,nmployees or:representatives will not•directly

                      or indirectly during the term of this agreement mai any 'effort to ascertain from, or offer any inducement or con-
                      sideration to: inYOne, including but not limited to any broadcasting Recta'« of BMI or to the agents, employees or
                    .representatives bf. BMI or Of any sticia" finance,' for intent -nation regarding the 'time Or times when any such BMI
                      licenseetitia 'rePti'rt -iti •performsuicen to BMI, or to attempt in any way to manipulate performances or affect the
                   . representative
                                . . . character
                                         .             or accuracy
                                                                .   of BMI's system of sampling or logging performances.
                                           ; C. Publisher agrees to notify BMI promptly in writing (1) of any change of firm name of
                   ...Publisher, and-At:Lot any change oftwenty, percent (207i) ortnoreththe ownership thereat 1: -.% %etc() re•A'                     ,• -•                                                     Jr;

                                                       fit die event o the violation of any Of the provisions Of subparagraphs A. B or C of this
                      paragraph, FIFTEENTH, BM! Shall have the right, in its sole discretion, to terminate this agreement by giving
                      Publisher it least thirty (30) 'days' 'notice by registered or (-edified mail: In the event of such termination; no
                      paymems •aull be due to Publisher pursuant to paragraph SEVENTH hereof.
                                 SiXTELNTH:-. In the event that during the term of this agreement (I) mail addressed to Publisher at
                limiest address furnished by it pursuant to paragraph TWENTIETH hereof shall be returned hy the post office,
                         .
               .oe (2) (monies shall not have been earned .by: Publisher pursuant to paragraph,FIbTH hereof for a period of two
                consraitive'yeari or more; or (3) thefraprietor; if Publisher is a sole proprietorship, shalldie, BMI shall have the
               'right 13 terminate this agreement on at least -thirty (301 days' notice by registered or certified mail addressed to
                the last address furnished by Publisher pursuant to paragraph TWENTIETH hereof and, in the case of the death
               a sole proprietor, to the representative of 'saidproprietor's estate, if known to BMI. In the event of such termination,
               no, payments ais.11 be due Publisher purivant to paragraph SEVENTH hereof:4,o                                   - "••••    -
                                SEVENTEENTH: Publiahee acknowledges that the rights obtained by it pursuant to this agteement
               constitute rights to payment o r money and that during the term BMI shall hold absolute title to the performing
               rights granted to BMI hereunder. In the event that during the term Publisher shall file a petition in bankruptcy, such
               a petition shall be filed against Publisher, Publisher shall make an assignment for the benefit of creditors, Publisher
               shall consent tiojthe,sppointneent of a • receiyer or trustee for all or pert of its property; publisher shall file a peti•
               dont-p i -dot-pm:ate - it organTratiniteiarrinigentent under the United States bithkruptcy'lisls, Publisher shall institute
               or shill, have instituted against it any:ither insolvency proceeding under the United States bankruptcy laws or any
              other applicable law, or in,thnevent Publisher is a partnership, all of the general partners of said partnership
              shall be adjudged bankrupts,.BMI shall retain title to the performing rights in idl Works for which clearance sheets
              shall:liaire4enerafore been:isainided.i6”BMI and shall subrogate Publisher's trustee in bankimpleV or receiver and
              Any subsequent purchasers - from them to Publisher's right io payment of ineniny for said works in aceordance'erith
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                              -1.EIGHTEENTH: Any controversy or claim arising out of, or relating ha, this agreement or the breach
               iffggirtifiill be tented by arbitration in the City of New York, in accordance with the Rulesof the American
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                                                  . ; Puhlisher, agrees that 3 shall not, without the written consent of BMI, assign any of
              RI-rights hereunder No righti against BM! Will be acquired by the assignee if any such purported assign.
              Mint 3 -made by Publisher without su'eleviiitten"cOrisent.."
              brrarje.arrnsTWENTIETTh e Rublisher agrees to notify 13311's Department'of , Performing , Rights Administration'
              promptly in writing of any change in its address.-Any notice sent to Publisher -pursuant to the terms of this agree- •
              /tent shell be valid if addresscdto Publisher at the lest address so furnished by Publisher.
              7x,             lTWENTY•FIRST: This agree/Tent cannot be elmnsed orally and • shall be governed and construed
              pursuant to the laws of the State of New York,
                                TlifiFilTYSECOND: In the event that any part or parts of this agreement are found to be void by A
              court of ininpeient jurisdiction/the' reiniiningliart or parts shall nevertheless be binding with the same force and
              effsitaill the void pirt 'oriarts were deleted from this agreement;
                            . ),TWENTY.THIRD: This agreement, as of its effective date, cancels and 'supersedes the agreement
                   between the:earths d ata ..                         ..            all modifications thereof (herein called the "Soper-
                   sededeti•Sinent")::n2reeliks--erisbricIedliftlialSuiseisicled Agieenielif shall be deemed embraced by this agreement.
                                                4'i Vi
                                                       1t is Speed- that any part of any advances heretofore made to Publisher pursuant
                    tetritjuStiperUdeel-Agivernent Which'shillifot have been recouped by performances of works up to the effective date
                    of this agreement "shall be deetheilte lerititadVance against all monies which may become payable to Publisher put..
                    suant to this aereematt and any extensions or inotifications thereof or substitutions therefor.
                                          w ATNESS;WHERECIF, the1parttes                                    o have caused this 'agiennant to be duly executed aleif die
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                  ars.' ..t.-C......"ert:Itt-.4.114.•‘!"•;.;•047...t:74i4taiii,
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      Case 3:16-cv-00049 MUSIC SALES 18-2
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                                                                            2013



                             MUSIC SALES CORPORATION
                                      257 Park Avenue South
                                       New York, NIY 10010
                                          (212) 254-2100
                                        Fax: (212) 254-2013
                                        jdnmusicsales.com


       Date: December 7, 2001

       To:       Minerva Taron
                 BM1
                 212-830-3865

       From: Joe Dipinto

       Re:       TAINTED LOVE

       Copies:
       Pages: 3


       Dear Minerva:

       Per your request, I am faxing the December 13, 1996 assignment from Equinox Music to
       Embassy Music Corp. and the page of the schedule containing the above title. if you
       require anything else, please let me know.




         e Dipinto
       Copyright Administration Manager
       Music Sales Corp./Embassy Music Corp.
       Phone: 212-254-2100
       Fax: 212-254-2013
       Jd©musicsales.com
DEC-0?-2001
       Case17 : 05
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                                                                     Page  165
                                                                         254   of 182 P.02
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                                          ASSIGNMENT,
                           KNOW ALL MEN BY THESE PRESENTS:
            THAT, for and in consideration of the sum of One Dollar $1.00) and other
     good and valuable consideration, receipt whereof is hereby acknowledged, the
     undersigned, AVI MUSIC PUBLISHING GROUP, INC. doing business as
     EXCELLOREC MUSIC, EQUINOX MUSIC, DELIRIOUS MUSIC, CO-JAC MUSIC
     and NORFOLK MUSIC ("Assignor"), hereby bargains, sells, grants, transfers,
     assigns and sets over unto EMBASSY MUSIC CORPORATION ("Assignee"), its
     successors and assigns, everywhere and forever, all of its right, title and interest in
     and to all musical compositions now owned or controlled by Assignor, including
     but without limitation all the musical compositions listed ott Schedule A, annexed
     hereto and made a part hereof but excluding only musical compositions in the
     catalogs of James W Music and John W Music, and all adaptations, arrangements,
     translations and versions thereof together with all rights and interests therein and
     thereto now or hereafter known or in existence, including all copyrights therein
     throughout the world, and all renewals and extensions thereof, with the right in
     Assignee of copyrighting the same and with the full right, power and authority in
     the sole discretion of Assignee to utilize for any and every use and purpose
    -whatsoever the whole and each and every part thereof.
            IN WITNESS WHEREOF, Assignor has executed this instrument this 3 IA'
     day of December, 1996.
                                     AVI MUSIC PUBLISHING GROUP, INC,
                                     doing business as EXCELLOREC MUSIC,
                                     EQUINOX MUSIC, DELIRIOUS MUSIC,
                                     CO-JAC         C anis FtFOLK MUSIC

                                                By:            4,     ALAS"
                                                      HARRY           R, President
                                    ACKNOWLEDGMENT

     STATE OP CALIFORNIA )
                                      ) ss.:
     COUNTY OF LOS ANGELES )
            On December 1996 before me personally came Harty Anger to me known,
     who, by me duly sworn, did depose and say that deponent is the President of AVI
     Music Publishing Group, Inc. the corporation described in, and which executed the
     foregoing agreement, that deponent knows the seal of the corporation, that the seal
     affixed to the agreement is the corporate seal, that it was affixed by order of the
     board of the corporation; and that deponent signed deponent's name by 1-lice order.
                                                      Notary Public
DEC-07-2001 17 : 06
       Case 3:16-cv-00049 MUSIC SALES 18-2
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                                                                               of 182 P.03

        SONG       SONG                                   COPY--     SONG
        NO. .      TITLE                                  RIGHT      WRITER(S)
                                 CO-PUBLISHER(8)
        328        TAINTED LOVE                            1965      COBB, ED



        333        TAKE A LOAD OFF ME                      1981      THOMAS, EDDIE
                                                                     KRANEN, HENRY


        330        TAKE A LOOK INSIDE MY HEART             1982      BENOIT, DAVID
                       FORSYTHE MUSIC, 55%                           RIORDAN, MONICA
                                                                     CHAN, ARLO

        331        TAKE EACH DAY AS IT COMES                         BURGAN, JERRY
                       TRICYCLE MUSIC, 50%


        332        TAKE IT FOR WHAT IT'S WORTH                       LEWIS, MICHAEL
                                                                     RINDER, LAUREN


        516        TAKE ME ON YOUR MAGIC RIDE              3.969     BENNETT, DONALD



        517        TAKING THE PLUNGE                                 WILLIAMS, DAVE
                          14/NOR SATRYON                             SIGMAN, JEFF
                                                                     DUCKET, THOMAS

        334        TASTE OF GHOSTS                         1977      LEWIS, MICHAEL
                     LAND-BURG MUSIC, 66 2/3%                        RINDER, LAUREN


        518        TEARS OF JOY                            1975      BRYSON, MARK DULSEI



         335       TELL ME                                 3.982     PAULIN, N.
                        QUALITY MUSIC, 50%




                                                                                  TOTAL P•03
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                                                                                                                                           FORM CORDS
                                                                                                                                           For a Work of the Performing Arts
                                                                                                                                           UNITED STATES COPYRIGHT OFFICE
                                                                                                                                           REGISTRATION NUMBER

                                                                                                                                                  PA 1-167-183
                                                                                                                                           EFFECTIVE DATE OF REGISTRATION

                                                                                                                                                  March 15, 2007
                                                                                                                                           Application received:                            16Mar07
                                                                                                                                           Fee received:                                    16Mar07
                                                                                                                                           Deposit received :                               15Mar07

TITLE OF WORK:
       YOU KNOW I'M NO GOOD as contained in "BACK TO BLACK"I ISLAND RECORDS GROUP #171 304 1

NATURE OF WORK:
   WORDS AND MUSIC
Name of Author: AMYWINEHOUSE
"Work             made for hire"? No
_ .............. ----......._._....._...._.-.-._..........._...._..-._._._._....--..-._.-.._.-_---.......__....--.._........................_.-.-.._.-...._-............--..._....._.............._.......--._.
Anonymous contribution? No
Pseudonymous contribution? No
Citizen or.. UNITED KINGDOM
Domiciled in:
Nature of authorship : WORDS & MUSIC
YEAR OF CREATION:
                                                       2006
PUBLICATION:
  Date: October 30, 2006
  Nation: UNITED KINGDOM

COPYRIGHT CLAIDIANT(S):
   Claimant #1:
              EMI MUSIC PUB. LTD. (C/O EMI BLACKWOOD MUSIC INC.)
              810 7TH AVENUE, 36TH FLOOR
              NEW YORK, NY 10019

TRANSFER:
      BY VIRTUE OF WRITTEN AGREEMENT

PREVIOUS REGISTRATION: Has registration for this work or for an earlier version of this work already been made in the
Copyright Office?
                                                        No.
DEPOSIT ACCOUNT: The fee for this registration has been charged to the following account:
      Name: EMI MUSIC PUBLISHING (CORDS)
      Account Number: 090557




                                                                                                                                                                                               Page 1 or 2
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Copyright Office Annotations:                                                                                                                           Examined by: db
                                                                                                                                                        Correspondence: No

CORRESPONDENCE: Correspondence about this application may he addressed to:
     EMI MUSIC PUBLISHING
              810 7TH AVENUE, 36TH FLOOR
              NEW YORK, NY 10019

Daytime phone number:                           212-830-5107
Evening phone number:                           212-830-5107
FAX number:                                     212-830-5198
Email address:                                  rcabiltes@emimusicpub.com


PERSON TO CONTACT FOR RIGHTS AND PERMISSIONS:
      EMI MUSIC PUBLISHING
              Attn: RON CABILTES
              810 7TH AVENUE, 36TH FLOOR
              NEW YORK, NY 10019

Daytime phone number:                           212-830-5107
FAX number:                                     212-830-5198
Email address:                                  rcabiltes@emimusicpub.com

1, the undersigned , hereby certify that I have the authority to submit this application and that the statements made herein
are correct to the best of my knowledge.
     /C=US/ST=AUO= EMI Music Publishing/OU=Copyright/CN=Ronald Cabiltes/
                                   The digital signature of the applicant is on file.

                                                                            End of Copyright Registration Data




                                                                           This space is intentionally left blank.




MAIL CERTIFICATE TO:
       EMI MUSIC PUBLISHING
      ATTN: RON CABILTES
       810 7TH AVENUE, 36TH FLOOR
      NEW YORK, NY 10019




• 17U.S.C. 9 50Ge1:Any permmn who knowingly nuke a false repraxenlnllos of a materlot ta In the applicat ion for rtpyrlypt reyldrallnn provided for by section 3119 , or I. any wtl lien Yuemenl 0kd In
rannerdon stilt the application , shall he fined not more than S2,500.


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  Case 3:16-cv-00049 Document 18-2 Filed on 03/20/17 in TXSD Page 169 of 182




 AGREEMENT made on January 23, 2006 between BROADCAST MUSIC, INC. ("BMI"), a New York
corporation, whose address is 320 West 57th Street , New York , N.Y.10019-3790 and EMI Blackwood Music Inc., a
Connecticut corporation (" Publisher"), whose address is c/o EMI Entertainment World Inc., 810 Seventh Avenue,
New York, NY 10019-5818



                                                WI'I'NESSETH:

          1. The term of this agreement shall be the period from April 1, 2005 to December 31, 2008, and
continuing thereafter for additional periods of five (5) years each unless terminated by either party at the end of said
initial period or any additional period , upon notice sent by registered , certified or Express mail, or other sending
method that requires that the date that the item is sent be recorded by the courier (e.g., overnight mail or messenger
service), not more than six (6) months or less than three (3) months prior to the end of any such period.

         2. As used in this agreement , the word "Work" or "Works" shall mean:

                A. All musical compositions (including the musical segments and individual compositions written
for a dramatic or dramatico -musical work) whether published or unpublished , now owned or copyrighted by
Publisher or in which Publisher owns or controls performing rights, and

                 B. All musical compositions (including the musical segments and individual compositions written
for a dramatic or dramatico -musical work) whether published or unpublished , in which hereafter during the term
Publisher acquires ownership of copyright or ownership or control of the performing rights, from and after the date
of the acquisition by Publisher of such ownership or control.

         3. Except as otherwise provided herein , Publisher hereby sells, assigns and transfers to BMI , its successors
or assigns , for the term of this agreement:

                A. All the rights which Publisher owns or acquires publicly to perform , and to license others to
perform , anywhere in the world , in any and all places and in any and all media , now known or which hereafter may
be developed , any part or all of the Works.

                B. The non-exclusive right to record , and to license others to record , any part or all of any of the
Works on electrical transcriptions , wire, tape, film or otherwise, but only for the purpose of performing such Work
publicly by means of radio and television or for archive or audition purposes . This right does not include recording
for the purpose of sale to the public or for the purpose of synchronization ( I) with motion pictures intended
primarily for theatrical exhibition or (2) with programs distributed by means of syndication to broadcasting stations,
cable systems or other similar distribution outlets.

               C. The non-exclusive right to adapt or arrange any part or all of any of the Works for performance
purposes, and to license others to do so.

        4. Notwithstanding the provisions of subparagraph A of paragraph 3 hereof:

              A. The rights granted to BMI by said subparagraph A shall not include the right to perform or license
the performance of more than one song or aria from a dramatic or dramatico-musical work which is an opera,




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operetta or musical show or more than five (5) minutes from a dramatic or dramatico -musical work which is a ballet,
if such performance is accompanied by the dramatic action, costumes or scenery of that dramatic or
dramatico-musical work.
                 B. Publisher, together with all the writers and co-publishers, if any, shall have the right jointly, by
written notice to BMI, to exclude from the grant made by subparagraph A of paragraph 3 hereof performances of
Works comprising more than thirty ( 30) minutes of a dramatic or dramatico-musical work, but this right shall not
apply to such performances from (1) a score originally written for or performed as part of a theatrical or television
film, (2) a score originally written for or performed as part of a radio or television program, or (3) the original cast,
sound track or similar album of a dramatic or dramatico-musical work.

                C. Publisher, the writers and/or co-publishers, if any, retain the right to issue non-exclusive licenses
for performances of a Work or Works in the United States, its territories and possessions (other than to another
performing rights licensing organization), provided that within ten (10) days of the issuance of such license or within
three (3) months of the performance of the Work or Works so licensed, whichever is earlier, BMI is given written
notice thereof and a copy of the license is supplied to BMI.

         5.
                A. As full consideration for all rights granted to BMI hereunder and as security therefor, BMI agrees
to make the following payments to Publisher with respect to each of the Works in which BMI has performing rights:

                 (1) For radio and television performances of Works in the United States, its territories and
possessions, BMI will pay amounts calculated pursuant to BMI's then standard practices upon the basis of the then
current performance rates generally paid by BMI to its affiliated publishers for similar performances of similar
compositions. The number of performances for which Publisher shall be entitled to payment shall be estimated by
BMI in accordance with its then current system of computing the number of such performances.

                      Publisher acknowledges that BMI licenses performances of the Works of its affiliates by
means other than on radio and television, but that unless and until such time as methods are adopted for tabulation of
and payment for such performances , payment will be based solely on performances in those media and locations
then currently surveyed. In the event that during the term of this agreement BMI shall establish a system of separate
payment for performances by means other than radio and television, BMI shall pay Publisher upon the basis of the
then current performance rates generally paid by BMI to its other affiliated publishers for similar performances of
similar compositions.
                   (2) For performances of Works outside of the United States, its territories and possessions, BMI
will pay to Publisher monies received by BMI in the United States from any performing rights licensing organization
which are designated by such organization as the publisher's share of foreign performance royalties earned by any of
the Works after the deduction of BMI's then current handling charge applicable to its affiliated publishers and in
accordance with BMI's then standard practices of payment for such performances.
                   (3) In the case of Works which, or rights in which, are owned by Publisher jointly with one or
more other publishers, the sum payable to Publisher under this subparagraph A shall be a pro rata share determined
on the basis of the number of publishers, unless BMI shall have received from Publisher a copy of an agreement or
other document signed by all of the publishers providing for a different division of payment.

                 B. Notwithstanding the provisions of subparagraph A of this paragraph 5, BMI shall have no
obligation to make payment hereunder with respect to (I) any performance of a Work which occurs prior to the date
on which BMI shall have received from Publisher all of the material with respect to such Work referred to in
subparagraph A of paragraph 12 hereof, and in the case of foreign performances, the information referred to in
subparagraph B of paragraph 16 hereof, or (2) any performance of a Work as to which a direct license as described
in subparagraph C of paragraph 4 hereof has been granted by Publisher, its co-publishers or the writers, or (3) any
performance for which no license fees shall be collected by BMI, or (4) any performance of a Work which Publisher
claims was either omitted from or miscalculated on a royalty statement and for which BMI shall not have received
written notice from Publisher of such claimed omission or miscalculation within nine (9) months of the date of the
royalty distribution seeking to be adjusted.

         6. In accordance with BMI's then current standard practices , BMI will furnish periodic statements to
Publisher during each year of the term showing the monies due pursuant to subparagraph A of paragraph 5 hereof.




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Each such statement shall be accompanied by payment of the sum thereby shown to be due to Publisher , subject to
all proper deductions , if any, for taxes, advances or amounts due to BMI from Publisher.

         7.
                 A. Nothing in this agreement requires BMI to continue to license the Works subsequent to the
termination of this agreement . In the event that BMI continues to license Publisher's interest in any Work , however,
BMI shall continue to make payments to Publisher for such Work for so long as Publisher does not make or purport
to make directly or indirectly any grant of performing rights in such Work to any other licensing organization. The
amounts of such payments shall be calculated pursuant to BMI's then current standard practices upon the basis of the
then current performance rates generally paid by BMT to its affiliated publishers for similar performances of similar
compositions. Publisher agrees to notify BMI by registered or certified mail of any grant or purported grant by
Publisher directly or indirectly of performing rights to any other performing rights organization within ten ( 10) days
from the making of such grant or purported grant and if Publisher fails so to inform BMI thereof and BMI makes
payments to Publisher for any period after the making of any such grant or purported grant, Publisher agrees to repay
to BMI all amounts so paid by BMI promptly with or without demand by BMI . In addition, if BMI inquires of
Publisher by registered or certified mail, addressed to Publisher 's last known address, whether Publisher has made
any such grant or purported grant and Publisher fails to confirm to BM1 by registered or certified mail within thirty
(30) days of the mailing ofsuch inquiry that Publisher has not made any such grant or purported grant, BMI may,
from and after such date , discontinue making any payments to Publisher.

                 B. BMI's obligation to continue payment to Publisher after the termination of this agreement for
performances outside of the United States, its territories and possessions , of Works which BMI continues to license
after such termination shall be dependent upon BMI's receipt in the United States of payments designated by foreign
performing rights licensing organizations as the publisher 's share of foreign performance royalties earned by the
Works . Payment of such foreign royalties shall be subject to deduction of M's then current handling charge
applicable to its affiliated publishers and shall be in accordance with BMI 's then standard practices of payment for
such performances.

          8. In the event that BMI has reason to believe that Publisher will receive, or is entitled to receive, or is
receiving payment from a performing rights licensing organization other than BMI for or based on United States
performances of one or more of the Works during a period when such Works were licensed by BMI pursuant to this
agreement, BMI shall have the right to withhold payment for such performances from Publisher until receipt of
evidence satisfactory to BM1 that Publisher was not or will not be so paid by such other organization . In the event
that Publisher was or will be so paid or does not supply such evidence within twelve ( 12) months from the date of
BMI's request therefor, BMI shall be under no obligation to make any payment to Publisher for performances of
such Works during such period.

          9.
               A. In the event that this agreement shall terminate at a time when , after crediting all earnings reflected
by statements rendered to Publisher prior to the effective date of such termination , there remains an unearned
balance of advances paid to Publisher by BMl or any other indebtedness owed to BM1 by Publisher, such
termination shall not be effective until the close of the calendar quarterly period during which ( 1) Publisher shall
repay such unearned balance of advances or indebtedness , or (2) Publisher shall notify BMI by registered or certified
mail that Publisher has received a statement rendered by BMI at its normal accounting time showing that such
unearned balance of advances or indebtedness has been fully recouped by BMI.

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           10. Notwithstanding the termination of this agreement , all of the terms and conditi ns of this agreement
shall continue to apply subsequent to such termination with respect to any Works XW/cominue to be licensed
by BMI and any monies payable to Publisher by BMI pursuant to the provisions of this agreement.

          11.
                 A. BM1 shall have the right, upon written notice to Publisher , to exclude from this agreement, at any
time, any Work which in BMI's opinion is similar to a previously existing composition and might constitute a
copyright infringement , or has a title or music or lyric similar to that of a previously existing composition and might
lead to a claim of unfair competition.




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                B. In the case of Works which in the opinion of BMI are based on compositions in the public
domain, BMl shall have the right, at any time, upon written notice to Publisher, either (I) to exclude any such Work
from this agreement, or (2) to classify any such Work as entitled to receive only a stated fraction of the full credit
that would otherwise be given for performances thereof.

                C. In the event that any Work is excluded from this agreement pursuant to subparagraph A or B of
this paragraph 11, or pursuant to subparagraph C of paragraph 14 hereof, all rights of BMI in such Work shall
automatically revert to Publisher ten (10) days after the date of the notice of such exclusion given by BMI to
Publisher. In the event that a Work is classified for less than full credit under subparagraph B (2) of this paragraph
11, Publisher shall have the right, by giving notice to BMI within ten (10) days after the date of BMI's notice to
Publisher of the credit allocated to such Work , to terminate all rights in such Work granted to BMI herein and all
such rights of BMI in such Work shall thereupon revert to Publisher.

         12.
                A. With respect to each of the Works which has been or shall be published or recorded
commercially or synchronized with motion picture or television film or tape or which Publisher considers likely to
be performed , Publisher agrees to furnish to BMI:

                   (I) A completed work registration form available in blank from BMI, unless a cue sheet with
respect to such Work is furnished pursuant to subparagraph A (3) of this paragraph 12.
                      (2) If such Work is based on a composition in the public domain , a legible lead sheet or other
written or printed copy of such Work setting forth the lyrics, if any, and music correctly metered; provided that with
respect to all other Works, such copy need be furnished only if requested by BM1 pursuant to subsection (b) of
subparagraph U (2) of this paragraph 12.

                     (3) If such Work has been or shall be synchronized with or otherwise used in connection with
motion picture or television film or tape, a cue sheet showing the title, writers, publisher and nature and duration of
the use of the Work in such film or tape.

                 B. Publisher shall submit the material described in subparagraph A of this paragraph 12 with respect
to Works heretofore published, recorded or synchronized within ten ( 10) days after the execution of this agreement
and with respect to any of the Works hereafter so published , recorded , synchronized or likely to be performed prior
to the date of publication or release of the recording, film or tape or anticipated performance.

                 C. The submission of each work registration form or cue sheet shall constitute a warranty and
representation by Publisher that all of the information contained thereon is true and correct and that no performing
rights in any of the Works listed thereon have been granted to or reserved by others except as specifically set forth
therein.

                D. Publisher agrees:
                    (1) To secure and maintain copyright protection of the Works pursuant to the Copyright Law of
the United States and pursuant to the laws of such other nations of the world where such protection is afforded; and
to give BMI, upon request, prompt written notice of the date and number of copyright registration and/or renewal of
each Work registered in the United States Copyright Office.

                     (2) At BMI's request:

                        (a) To register each unpublished and published Work in the United States Copyright Office
pursuant to the Copyright Law of the United States.

                          (b) To obtain and deliver to BMI copies of. unpublished and published Works, including
any commercial recording of such Works; copyright registration and/or renewal certificates issued by the United
States Copyright Office; any agreements , assignments , instruments or documents of any kind by which Publisher
obtained the right to publicly perform and/or the right to publish, co-publish or sub -publish and/or the right to
administer the performing rights in and/or collect the royalties for any of the Works.

                 E. Publisher agrees to give BMf prompt notice by registered or certified mail in each instance when,
pursuant to the Copyright Law of the United States, (1) the rights granted to BMI by Publisher in any Work shall
revert to the writer or the writer's representative , or (2) copyright protection of any Work shall terminate.




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          13. Publisher warrants and represents that:

                 A. Publisher has the right to enter into this agreement ; Publisher is not bound by any prior
commitments which conflict with its undertakings herein; the rights granted by Publisher to BMI herein are the sole
and exclusive property of Publisher and are free from all adverse encumbrances and claims; and exercise of such
rights will not constitute infringement of copyright or violation of any right of, or unfair competition with, any
person, firm, corporation or association.

                B. Except with respect to Works in which the possession of performing rights by another person,
firm, corporation or association is specifically set forth on a work registration form or cue sheet submitted to BMI
pursuant to subparagraph A of paragraph 12 hereof, Publisher has perforating rights in each of the Works by virtue
of written grants thereof to Publisher signed by the authors and composers or other owners of such Work.
          14.
                A. Publisher agrees to defend, indemnify, save and hold BMI, its licensees, the advertisers of its
licensees and their respective agents, servants and employees, free and harmless from and against any and all
demands, loss, damage, suits, judgments, recoveries and costs, including counsel fees, resulting from any claim of
whatever nature arising from or in connection with the exercise of any of the rights granted by Publisher in this
agreement ; provided, however, that the obligations of Publisher under this paragraph 14 shall not apply to any matter
added to, or changes made in, any Work by BMI or its licensees.

                 B. Upon the receipt by BMI or any of the other parties herein indemnified of any notice, demand,
process , papers, writ or pleading, by which any such claim, demand, suit or proceeding is made or commenced
against them, or any of them, which Publisher shall be obliged to defend hereunder, BMI shall, as soon as may be
practicable, give Publisher notice thereof and deliver to Publisher such papers or true copies thereof, and BMI shall
have the right to participate and direct such defense on behalf of BMI and/or its licensees by counsel of its own
choice, at its own expense. Publisher agrees to cooperate with BMI in all such matters.

                C. In the event of such notification of claim or service of process on any of the parties herein
indemnified , BMI shall have the right, from the date thereof, to withhold payment of all sums which may become
due pursuant to this agreement or any modification thereof and/or to exclude the Work with respect to which a claim
is made from this agreement until receipt of satisfactory written evidence that such claim has been withdrawn, settled
or adjudicated.

          15. Publisher makes, constitutes and appoints BMI, or its nominee, Publisher's true and lawful attorney,
 irrevocably during the term hereof, in the name of BMI or that of its nominee, or in Publisher' s name, or otherwise,
 in BMI's sole judgment, to do all acts, take all proceedings, and execute, acknowledge and deliver any and all
 instruments, papers, documents, process or pleadings that, in BM I's sole judgment, may be necessary, proper or
expedient to restrain infringement of and/or to enforce and protect the rights granted by Publisher hereunder, and to
recover damages in respect of or for the infringement or other violation of said rights, and in BMI's sole judgment to
join Publisher and/or others in whose names the copyrights to any of the Works may stand, and to discontinue,
compromise or refer to arbitration, any such actions or proceedings or to make any other disposition of the disputes
in relation to the Works; provided that any action or proceeding commenced by BMI pursuant to the provisions of
this paragraph 15 shall be at its sole expense and for its sole benefit. Notwithstanding the foregoing, nothing in this
paragraph 15 requires BMI to take any proceeding or other action against any person, firm, partnership or other
entity or any writer or publisher, whether or not affiliated with BMI, who Publisher claims may be infringing
Publisher's Works or otherwise violating the rights granted by Publisher hereunder. In addition, Publisher
understands and agrees that the licensing by BMI of any musical compositions which Publisher claims may be
infringing Publisher's Works or otherwise violating the rights granted by Publisher hereunder shall not constitute an
infringement of Publisher's Works on BMI's part.

          16,
                  A. It is acknowledged that BMI has heretofore entered into, and may during the term of this
agreement enter into, contracts with performing rights licensing organizations for the licensing of public performing
rights controlled by BMI in territories outside of the United States, its territories and possessions (herein called
"Foreign Territories"). Upon Publisher's written request, BMI agrees to permit Publisher to grant performing rights
in any or all of the Works for any Foreign Territory for which, at the time such request is received, BMI has not
entered into any such contract with a performing rights licensing organization; provided, however, that any such
grant of performing rights by Publisher shall terminate at such time when BMI shall have entered into such a
contract with a performing rights licensing organization covering such Foreign Territory and shall have notified
Publisher thereof. Nothing herein contained, however, shall be deemed to restrict Publisher from assigning to its
foreign publisher or representative the right to collect a part or all of the publishers' performance royalties earned by

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any or all of the Works in any Foreign Territory as part of an agreement for the publication, exploitation or
representation of such Works in such territory, whether or not BMI has entered into such a contract with a
performing rights licensing organization covering such territory.

                  B. Publisher agrees to notify HMI promptly in writing in each instance when publication,
exploitation or other rights in any or all of the Works are granted for any Foreign Territory. Such notice shall set
forth the title of the Work, the Foreign Territory or Territories involved, the period of such grant, the name of the
person, firm, corporation or association entitled to collect performance royalties earned in the Foreign Territory and
the amount of such share. Within ten (10 ) days after the execution of this agreement Publisher agrees to submit to
BMI, in writing, a list of all Works as to which Publisher has, prior to the effective date of this agreement, granted to
any person, firm, corporation or association performing rights and/or the right to collect publisher performance
royalties earned in any Foreign Territory.

         17. BMI shall have the right , in its sole discretion , to terminate this agreement if-

                A. Publisher, its agents, employees, representatives or affiliated companies, directly or indirectly
during the term of this agreement:

                     (1) Solicits or accepts payment from or on behalf of authors for composing music for lyrics, or
from or on behalf of composers for writing lyrics to music.

                    (2) Solicits or accepts music and/or lyrics from composers or authors in consideration of any
payments to be made by or on behalf of such composers or authors for reviewing, arranging, promotion, publication,
recording or any other services connected with the exploitation of any composition.

                    (3) Permits Publisher's name, or the fact of its affiliation with BMI, to be used by any other
person, firm, corporation or association engaged in any of the practices described in subparagraphs A (I) and A (2)
of this paragraph 17.

                   (4) Submits to BMI, as one of the Works to come within this agreement, any musical
composition with respect to which any payments described in subparagraphs A (I) and A (2) of this paragraph 17
have been made by or on behalf of a composer or author to any person, firm, corporation or association.

                B. Publisher, its agents, employees or representatives directly or indirectly during the term of this
agreement makes any effort to ascertain from, or offers any inducement or consideration to, anyone, including but
not limited to any radio or television licensee of BMI or to the agents, employees or representatives of BMI or of
any such licensee, for information regarding the time or times when any such BMI licensee is to report its
performances to BMI, or to attempt in any way to manipulate performances or affect the representative character or
accuracy of BMI's system of sampling or monitoring performances.

                C. Publisher fails to notify BMI's Department of Writer/Publisher Administration promptly in
writing of any change of firm name, ownership or address of Publisher.

                 In the event BMl exercises its right to terminate this agreement pursuant to the provisions of
subparagraphs A, B or C of this paragraph 17, BMI shall give Publisher at least thirty (30) days' notice by registered
or certified mail of such termination, In the event of such termination, no payments shall be due to Publisher
pursuant to paragraph 7 hereof.

          18. In the event that during the term of this agreement ( 1) mail addressed to Publisher at the last address
furnished by Publisher pursuant to paragraph 22 shall be returned by the post office, or (2) monies shall not have
been earned by Publisher pursuant to paragraph 5 hereof for a period of two consecutive years or more, or (3) the
proprietor, if Publisher is a sole proprietorship, shall die, BMI shall have the right to terminate this agreement on at
least thirty (30) days' notice by registered or certified mail, electronic mail ("e-mail") or facsimile number addressed
to the last postal or electronic address or transmitted to the last facsimile number furnished by Publisher in writing to
BMI's Department of Writer/Publisher Administration and, in the case of the death of a sole proprietor, to the
representative of said proprietor's estate, if known to BMI. If Publisher failed to maintain a current address with BMI
and BMI has made reasonable good-faith efforts in attempting to locate Publisher without success, BMI shall have
the right to terminate this agreement pursuant to this paragraph 18 by regular first-class U.S. mail, in lieu of the
means otherwise specified, regardless of anything in paragraph 17 to the contrary. In the event of such termination,
no payments shall be due Publisher pursuant to paragraph 7 hereof.
         19. Publisher acknowledges that the rights obtained by it pursuant to this agreement constitute rights to
payment of money and that during the term BMI shall hold title to the performing rights granted to BMI hereunder.
In the event that during the term Publisher shall file a petition in bankruptcy, such a petition shall be filed against

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Publisher, Publisher shall make an assignment for the benefit of creditors, Publisher shall consent to the appointment
of a receiver or trustee for all or part of its property , Publisher shall file a petition for corporate reorganization or
arrangement under the United States bankruptcy laws, or Publisher shall institute or shall have instituted against it
any other insolvency proceeding under the United States bankruptcy laws or any other applicable law, or, in the
event Publisher is a partnership, all of the general partners of said partnership shall be adjudged bankrupts, BMI
shall retain title to the performing rights in all Works the rights to which are granted to BMI hereunder and shall
subrogate Publisher's trustee in bankruptcy or receiver and any subsequent purchasers from them to Publisher's right
to payment of money for said Works in accordance with the terms and conditions of this agreement.

          20. All disputes of any kind, nature or description arising in connection with the terms and conditions of
this agreement shall be submitted to the American Arbitration Association in New York, New York, for arbitration
under its then prevailing rules , the arbitrator(s) to be selected as follows: Each of the parties shall , by written notice
to the other, have the right to appoint one arbitrator. If, within ten ( 10) days following the giving of such notice by
one party, the other shall not , by written notice, appoint another arbitrator, the first arbitrator shall be the sole
arbitrator . If two arbitrators are so appointed, they shall appoint a third arbitrator . If ten ( I0) days elapse after the
appointment of the second arbitrator and the two arbitrators are unable to agree upon the third arbitrator, then either
party may, in writing, request the American Arbitration Association to appoint the third arbitrator. The award made
in the arbitration shall be binding and conclusive on the parties and shall include the fixing of the costs, expenses
and reasonable attorneys' fees of arbitration , which shall be borne by the unsuccessful party . J udgment may be
entered in New York State Supreme Court or any other court having jurisdiction. ,
         21. Publisher agrees that it shall not, without the written consent of BMI, assign any of its rights hereunder.
No rights of any kind against BMI will be acquired by the assignee if any such purported assignment is made by
Publisher without such written consent.
         22. Publisher agrees to notify BMI's Department of Writer/Publisher Administration promptly in writing of
any change in Publisher 's postal or electronic ("e-mail") address, or facsimile number . Any notice sent to Publisher
pursuant to the terms of this agreement shall be valid if addressed to Publisher at the last postal or electronic address
or facsimile number so furnished by Publisher.

          23. This agreement shall be subject to BMI ' s standard practices and procedures which are in effect as of
the effective date of this agreement and as they may be modified and/or supplemented from time to time.

          24. Publisher acknowledges that the relationship between BMI and Publisher which is created by this
agreement is one of ordinary contracting parties and is not intended to be a fiduciary relationship with respect to any
of the rights or obligations hereunder.
         25. Publisher authorizes the inclusion of Publisher's name, likeness and biographical information, and
those of Publisher' s executive employees , in publicly-distributed material relating to Publisher 's association with
BMI.
          26. This agreement constitutes the entire agreement between BMI and Publisher , cannot be changed except
in a writing signed by BMI and Publisher and shall be governed and construed pursuant to the laws of the State of
New York.
          27. In the event that any part or parts of this agreement are found to be void by a court of competent
jurisdiction , the remaining pan or parts shall nevertheless be binding with the same force and effect as if the void
part or pans were deleted from this agreement.

          28. Any prior agreements , as modified , between Publisher and BMI are canceled and superseded as of the
effective date of this agreement. All works that were embraced by any prior agreement between Publisher and BMI
and in which no other licensing organization controls Publisher's performing right interest shall be deemed embraced
by this agreement. Any unearned balance of advances previously paid to Publisher by BMI or unpaid indebtedness
owed to BMI by Publisher shall be deemed to be recoupable by BMI from any monies which become payable to
Publisher pursuant to this agreement and any extensions , renewals or modifications . If Publisher has acquired the
works of the former BMI affiliate who is indicated on the attached terminated agreement , then all works which were
embraced by that agreement and in which no other licensing organization controls the performing right interest shall
be deemed embraced by this agreement . Any unearned balance of advances previously paid to said former affiliate
by BMI or unpaid indebtedness owed by said former affiliate to BMI shall be deemed to be recoupable by BMI from
any monies which become payable to Publisher pursuant to this agreement and any extensions , renewals or
modifications.



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               IN WITNESS WHEREOF, the parties hereto have caused this agreement to be duly executed as of the day
       and year first above written.




Li




                                                                         ".....Martin Bandier , Chairman and CEO ...................
                                                                                   (Print Name and Title of Signer)

     If your ckrhlpanyl structuref is a PARTNERSHIP, all other partners must sign below:

     By ........................... .................. .................. .......... ................. .......... ................ ...............
                          Partner Printed Name

     By .....................................................................................................................................
                         Partner Printed Name

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     By ...................................................................................................................................
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       AGREEMENT made as of this 2nd day of June 1989 BETWEEN LMI
       MUSIC PUBLISHING LIMITED of 127 Charing Cress Road, London WC2H
       CEA, England ("the Owner ") of the one part and I APRIL MUSIC INC.
       and EMI BLACKWOOD MUSIC INC. both of 1290 Avenue of the Americas,
       New York, NY 10104, U. S.A. ("the Publisher ") of the other part.


       Nrr_ER°AS IT IS AGREED as follows:-


              DEFINITIO.S:-

       In this Agreement the following terms shall where the context so
       requires or admits have the following meanings:-

      (a) "the Owner" shall mean EMS Music publishing Limited together
      tiith all of its subsidiary companies and its and their trading
      names as set out in the Schedule hereto and marked Annexure
      including, without limitation, EMI Songs Limited and EMI United
      Partnership Limited (together "NewCos"), which 'l ist may be added to
      or reduced during           the       Term.         -

      ('n) "the Term" shall mean the initial period of 1 (one) month
      commencing on the date hereof . The Term shall be automatically
      renewed for additional periods of 1 (one ) m onth each from the
      expiration of the initial period unless either party shall sent
      notice to the other prior to the expiration of any such 1 (one)
      month period. In the event that such notice is sent the te:-m will
      expire on the last day of the month in which it was given.

       (c) "the Compositions" shall mean:

              (i) the Prior Compositions, and

            (ii) the words and music of all musical compositions
      hereafter acquired or controlled by the Owner during the Term
      pursuant to agreements entered into on or after 2nd June 1989 other
      than in the case of the NewCos insofar as the owner has acquired
      rights therein for the Licensed Territory, and

           (iii) the words and music of any other musical compositions
      presently owned or controlled by the owner which the owner and the
      Publisher agree durinc the Term shall be :made available to the
      Publisher for the Licensed Territory, and

            (iv) notwithstanding anything to the contrary contained
      herein the words and music of the musical compositions included or
      to be included in the RPM Music Limited -Recorded Music Library, the
      Berry Music Company Limited Conroy Library, the Themes
      international (Music) Limited Recorded Music Library and the
      Francis Day and F:enter Limited Mood Music Recorded Library are
      excluded from this Agreement.

      (d) "the Prior Co-.pcsitions" shall mean all those musical
      compositions which are the subject matter of all agreements between
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     NewCes and EMI Entertainment world Inc. prior to this Agreement,
     the rights in which have reverted to the owner upon the expiry of
     the said prior agreements.

     (e` "the Licensed Territory" shall mean the territory of the
     United States of America, Canada and save in the case of
     Compositions awned and/or controlled by the VewCcs, Israel.

     (f' "IMP' shall near, International Music Publications of Southend
     Road, Woodford Green, Essex IG8 SHE, England.

     (g) "Videogram" shall mean audio visual records or similar
     contrivances where the audio- visual Content is 50% (or :lore) of the
     running time of such contrivance (including but without limitation
     computer software incorporating not only sonic reproduction of the
      Impositions but also visual reproduction of the lyrics thereto on
     a screen or by a print cut).


     2, GRANT OF RIGHTS:-

    in consideration of the royalties hereinafter agreed to be paid and
    of the obligations on the Publisher's part contained herein the
    Owner hereby grants by way of licence only to the Publisher subject
    to the terms and conditions hereof (and in particular to Clauses 4
    and 9 hereof) the following rights in and to the Compositions and
    each of then to the extent that the owner owns or controls the
    Compositions for the Licensed Territory for the Tern.

    (a) (i) The non-exclusive right to print publish and sell the
    same in any and all parts of the Licensed Territory and the
    non-exclusive right to include any of the Compositions in any album
    book or folio. The only third party having the right to print
    publish and sell copies of the Compositions in the Licensed
    Territory is IMP.

          (ii) In the event that the Publisher or the Publisher's
    licensee in the Licensed Territory should reject any particular
    printed project of the Owner then the owner shall be free to
    appoint a third party in place of the Publisher or the Publisher's
    licensee insofar as it is necessary to comply with owner's prior
    contractual commitments with third parties.

          (iii) The owner shall from time to tine inform the Publisher
    of Compositions which may not be included in any album, book,
    folio, newspaper, magazine or periodical or where such right is
    limited in which case the Publisher agrees to abide by the
    direction of the Owner in each case.

          (iv) Subject to any pre-existing arrangements or agreements
    entered into by the Owner with any third party and sub-clause (i)
    above the Publisher shall have the exclusive right to import
    publications containing the Compositions or any of then into the
    Licensed Territory for sale in the Licensed Territory only."
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      (v) The grant of rights made in this sub-cl ause ( a) does not
include the Copyright in the artwork and the eompilatlcn (if any)
in respect of publications produced by or on behalf of the owner
outside the Licensed Territory. In the even: that the Publisher
should wish to u;e any such artwork and/or compilation in its own
publications the Publisher may do so having first obtained the
prier written permission of the relevant Copyright owner each
case.

(b) The exclusive right to collect all monies arising from the
local perfor-ing right societies in the Licensed Territory from the
issuance of licencas for public performance, including broadcasting
or television. (whether by conventional means or by cable or
satellite or such ether means as may be devised). ?or the avoidance
of doubt no person. fire, or company (including but wit cut
limitation the Publisher) other than the appropriate performing
right societies in the Licensed Territory has any right to deal in
performing and broadcast rights.

(C) The exclusive right to authorise mechanical or electrical
reproduction in the making of audio gramophone records or similar
contrivances or such other media for audio only reproduction as may
be devised or utilised (including any audio-visual record or
similar contrivance where the audio-visual content is less than 5C;
of the running time) for sale to the public in the Licensed
Territory and to collect all. r.echanical royalties and fees payable
on audio gramophone records or similar contrivances or such other
media for audio only reproduction as may be devised or utilised
sold in the Licensed Territory wherever manufactured.

(d) (i) The exclusive right to authorise mechanical or
electrical reproduction in the manufacture of copies of Vidaograms
in the Licensed Territory and to collect all royalties and fees
payable on such 'ideograms regardless of where the same may be
sold, PROVIDED THAT the Publisher shall obtain the Owner's prior
written permission in respect of each such licence granted for the
use of any of the Compositions and PROVIDED FURTHER THAT the
Publisher shall forthwith send to the Owner details of all video
licences issued by the Publisher or on its behalf.

      (ii) The Own er reserves unto itself the exclusive right to
author'-se mechanical or electrical raoroducticn in the manufacture
of copies c` 'ideograms in al' countries of the world outside the
Licensed Territory for sale to the public (including in the
Licensed Territory) and to collect all royalties and fees payable
   such Videograms aforesaid.

(e) The exclusive right to grant non-exclusive world licences for
the reccrd_ng, reproduction and use of the compositions in and in
connection with notion pictures or television productions
(including but without-initation commercials and advertisements)
intended to be used in, any media now known or hereafter devised
(including but w:thcut lititation cable and satellite television)
produced in the Licensed Terri-tore and the making of copies
thereof, of exporting suc,i copies to all countries of the worm,
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    Publisher . This Agreement constitutes the shtire agreement between
    owner and Publisher at the date hereof with r egard to the
    sub-publishing of the Compositions and the parties hereto enter
    into it solely on that basis without reliance on any other
    representations whatsoever.


    24. PRO =_° R LA:-

    (a) This Agreement shall be governed by the laws of England and
    the High court of justice in England shall be the Court of
    Jurisdiction,

    (b) Nothing contained in this Agreement shall in any way restrict
    the Owner' s and the Publisher' s rights pursuant to the Treaty of
    Rome and any subsidiary or amending legislation or agreements
    relating thereto.




    SIGNED by



    AND by
    Directors for and on behalf
    of EMI MUSIC ?UBLISHING
                   LIMITED                                    .y




    SIGNED by



   AND by                                           .1 ..... .................
    Directors for and on behalf
    of EMI APRIL MUSIC INC.




   SIGNED by



   AND by
   Directors for and on behalf
   of EMI BLACXWOOD MUSIC INC.
